Case 3:23-cv-02071-E   Document 29   Filed 01/22/24   Page 1 of 75   PageID 11506




                           CASE NO. 3:23-cv-02071-E


                IN THE UNITED STATES DISTRICT COURT
                 FOR THE NOTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION


            IN RE: HIGHLAND CAPITAL MANAGEMENT, L.P.,
                              Debtor


               HUNTER MOUNTAIN INVESTMENT TRUST,
                           Appellant,

                                         v.

             HIGHLAND CAPITAL MANAGEMENT, L.P., et al


     On Appeal from the United States Bankruptcy Court for the Northern
                  District of Texas, Case No. 19-34054-slg11
                  The Honorable Judge Jernigan, Presiding


                    APPELLANT BRIEF FILED BY
                HUNTER MOUNTAIN INVESTMENT TRUST

       Sawnie A. McEntire
       State Bar No. 13590100
       smcentire@pmmlaw.com
       1700 Pacific Avenue, Suite 4400
       Dallas, Texas 75201
       Telephone: (214) 237-4300
       Facsimile: (214) 237-4340

       Roger L. McCleary
Case 3:23-cv-02071-E   Document 29   Filed 01/22/24   Page 2 of 75   PageID 11507



       State Bar No. 13393700
       rmccleary@pmmlaw.com
       One Riverway, Suite 1800 Houston, Texas 77056
       Telephone: (713) 960-7315
       Facsimile: (713) 960-7347
       Attorneys for Petitioner
Case 3:23-cv-02071-E       Document 29   Filed 01/22/24   Page 3 of 75    PageID 11508



              I.       CORPORATE DISCLOSURE STATEMENT

       Pursuant to Fed. R. Bankr. P. 8012, Appellant Hunter Mountain Investment

 Trust (“HMIT”) is a trust organized under the laws of Delaware, not a corporation,

 and does not need to make a corporate disclosure. HMIT also files this brief

 derivatively, on behalf of the Highland Claimant Trust (“Claimant Trust”), which is

 a trust organized under the laws of Delaware pursuant to a Claimant Trust

 Agreement (“CTA”), and does not need to make a corporate disclosure. HMIT also

 files this brief on behalf of the Reorganized Debtor, Highland Capital Management,

 L.P. (“HCM”), of which there are no publicly-held corporations that own 10% or

 more, and which is not a corporation. In the alternative only, HMIT files derivatively

 on behalf of the Litigation Sub-Trust, a Delaware trust, which does not need to make

 a corporate disclosure.

            II.    STATEMENT REGARDING ORAL ARGUMENT

       This appeal involves a voluminous record from a one-day evidentiary hearing

 that also involved several other pre-hearing and post-hearing orders. The bankruptcy

 court’s 105-page Memorandum Opinion and Order (“Order Denying Leave”)

 creates an improper standard for determining the “colorability” of claims during the

 initial pleading stages of a case, compounded by a series of other harmful legal and

 factual errors. HMIT respectfully submits that oral argument would aid the Court’s

 decisional process. See FED. R. BANKR. P. 8019.


                                          -i-
Case 3:23-cv-02071-E      Document 29      Filed 01/22/24    Page 4 of 75   PageID 11509



  III.    LOCAL RULE 8012.1 CERTIFICATE OF INTERESTED PERSONS

         HMIT certifies to the best of its knowledge that the following list is a complete

 list of all persons, associations of persons, firms, partnerships, corporations,

 guarantors, insurers, affiliates, parent corporations, and/or other legal entities who

 or which are financially interested in the outcome of this appeal. HMIT was seeking

 to bring this action on behalf of HCM and the Claimant Trust and objected to their

 separate representation.

 1) Debtor: Highland Capital Management, L.P. (“HCM”)

         Attorneys:
         Jeffrey N. Pomerantz
         jpomerantz@pszjlaw.com
         Ira D. Kharasch
         ikharasch@pszjlaw.com
         John A. Morris
         jmorris@pszjlaw.com
         Gregory V. Demo
         gdemo@pszjlaw.com
         PACHULSKI STANG ZIEHL & JONES LLP
         10100 Santa Monica Blvd., 13th Floor
         Los Angeles, CA 90067
         Telephone: (310) 277-6910
         facsímile: (310) 201-0760

         -and-

         Melissa S. Hayward
         Mhayward@HaywardFirm.com
         Zachery Z. Annable
         Zannable@HaywardFirm.com
         HAYWARD PLLC
         10501 N. Central Expy, Ste. 106
         Dallas, Texas 75231
                                            -ii-
Case 3:23-cv-02071-E      Document 29   Filed 01/22/24   Page 5 of 75   PageID 11510



       Tel: (972) 755-7100
       Fax: (972) 755-7110

 2) Highland Claimant Trust

       Attorneys:
       Jeffrey N. Pomerantz
       jpomerantz@pszjlaw.com
       Ira D. Kharasch
       ikharasch@pszjlaw.com
       John A. Morris
       jmorris@pszjlaw.com
       Gregory V. Demo
       gdemo@pszjlaw.com
       PACHULSKI STANG ZIEHL & JONES LLP
       10100 Santa Monica Blvd., 13th Floor
       Los Angeles, CA 90067
       Telephone: (310) 277-6910
       Facsimile: (310) 201-0760

       -and-

       Melissa S. Hayward
       Mhayward@HaywardFirm.com
       Zachery Z. Annable
       Zannable@HaywardFirm.com
       HAYWARD PLLC
       10501 N. Central Expy, Ste. 106
       Dallas, Texas 75231
       Tel: (972) 755-7100
       Fax: (972) 755-7110

 3) James P. Seery, Jr.

       Attorneys:
       Mark T Stancil
       Joshua S Levy
       Willkie Farr & Gallagher LLP
       1875 K Street NW


                                         -iii-
Case 3:23-cv-02071-E   Document 29    Filed 01/22/24   Page 6 of 75   PageID 11511



       Washington, DC 20006
       202-303-1133
       202-303-1000
       Fax: 202-303-2133
       Email: mstancil@willkie.com
       Email: jlevy@willkie.com
       LEAD ATTORNEY
       PRO HAC VICE
       ATTORNEY TO BE NOTICED

       -and-

       Lindsey Lee Robin
       Omar J Alaniz
       Reed Smith
       2850 N. Harwood St.
       Suite 1500
       Dallas, TX 75201
       469-680-4222
       469-680-4292
       Fax: 469-680-4299
       Email: lrobin@reedsmith.com
       Email: oalaniz@reedsmith.com
       ATTORNEY TO BE NOTICED

 4) Stonehill Capital Management, LLC

    Attorneys:
    Brent R. McIlwain, TSB 24013140
    brent.mcilwain@hklaw.com
    David C. Schulte TSB 24037456
    ivavid.schulte@hklaw.com
    Christopher Bailey TSB 24104598
    chris.bailey@hklaw.com
    Holland & Knight LLP
    1722 Routh Street, Suite 1500
    Dallas, TX 75201
    Tel. : (214) 964-9500
    Fax : (214) 964-9501


                                       -iv-
Case 3:23-cv-02071-E   Document 29    Filed 01/22/24   Page 7 of 75   PageID 11512



 5) Farallon Capital Management, LLC

    Attorneys:
    Brent R. McIlwain, TSB 24013140
    brent.mcilwain@hklaw.com
    David C. Schulte TSB 24037456
    vavid.schulte@hklaw.com
    Christopher Bailey TSB 24104598
    chris.bailey@hklaw.com
    Holland & Knight LLP
    1722 Routh Street, Suite 1500
    Dallas, TX 75201
    Tel.: (214) 964-9500
    Fax: (214) 964-9501

 6) Muck Holdings, LLC.

    Attorneys:
    Brent R. McIlwain, TSB 24013140
    brent.mcilwain@hklaw.com
    David C. Schulte TSB 24037456
    vavid.schulte@hklaw.com
    Christopher Bailey TSB 24104598
    chris.bailey@hklaw.com
    Holland & Knight LLP
    1722 Routh Street, Suite 1500
    Dallas, TX 75201
    Tel.: (214) 964-9500
    Fax: (214) 964-9501

 7) Jessup Holdings, LLC.

    Attorneys:
    Brent R. McIlwain, TSB 24013140
    brent.mcilwain@hklaw.com
    David C. Schulte TSB 24037456
    vavid.schulte@hklaw.com
    Christopher Bailey TSB 24104598
    chris.bailey@hklaw.com
    Holland & Knight LLP
                                       -v-
Case 3:23-cv-02071-E   Document 29    Filed 01/22/24   Page 8 of 75   PageID 11513



    1722 Routh Street, Suite 1500
    Dallas, TX 75201
    Tel.: (214) 964-9500
    Fax: (214) 964-9501

 8) Appellant: Hunter Mountain Investment Trust

    Attorneys:
    Sawnie A. McEntire
    State Bar No. 13590100
    smcentire@pmmlaw.com
    Allison Jacobsen
    State Bar No. 00783549
    ajacobsen@pmmlaw.com
    1700 Pacific Avenue, Suite 4400
    Dallas, Texas 75201
    Telephone: (214) 237-4300
    Facsimile: (214) 237-4340

    Roger L. McCleary
    State Bar No. 13393700
    rmccleary@pmmlaw.com
    One Riverway, Suite 1800
    Houston, Texas 77056
    Telephone: (713) 960-7315
    Facsimile: (713) 960-7347




                                       -vi-
Case 3:23-cv-02071-E             Document 29              Filed 01/22/24            Page 9 of 75           PageID 11514




                                    IV.       TABLE OF CONTENTS

 I.      CORPORATE DISCLOSURE STATEMENT ................................................i
 II.     STATEMENT REGARDING ORAL ARGUMENT ......................................i
 III.    LOCAL RULE 8012.1 CERTIFICATE OF INTERESTED
         PERSONS ....................................................................................................... ii
 IV.     TABLE OF CONTENTS ............................................................................. vii
 V.      TABLE OF AUTHORITIES ...........................................................................x
 VI.     JURISDICTIONAL STATEMENT ................................................................ 1
 VII. STATEMENT OF ISSUES PRESENTED AND APPLICABLE
      STANDARD OF REVIEW .............................................................................1
 VIII. INTRODUCTION ...........................................................................................4
 IX.     STATEMENT OF THE CASE ....................................................................... 7
         A.       HCM Files for Bankruptcy .................................................................... 7
         B.       The Purchase of the Largest Unsecured Claims was Tainted ............... 7
         C.       The Outside Purchasers’ Had Prior Relationships with Seery............ 10
         D.       Material Non-Public Information ........................................................11
         E.       The Plan’s Gatekeeper Provision ........................................................13
         F.       Beneficiaries Under the Claimant Trust ..............................................13
         G.       HMIT Filed Its Emergency Motion for Leave ....................................14
         H.       The Bankruptcy Court Rejected a Rule 12(b)(6)-Type Analysis. ...... 15
         I.       The June 8 Hearing and Exclusion of HMIT’s Expert
                  Testimony and Strike of Proffer ..........................................................17
         J.       The Bankruptcy Court’s Orders Excluding Experts ...........................19
         K.       The Bankruptcy Court Entered Its Order Denying HMTI’s
                  Motion for Leave and its Order Denying HMIT’s Motion to
                  Alter .....................................................................................................20
 X.      SUMMARY OF ARGUMENT .....................................................................21
 XI.     ARGUMENT & AUTHORITIES .................................................................23
         A.       HMIT has Constitutional and Prudential Standing to Bring Its

                                                           -vii-
Case 3:23-cv-02071-E        Document 29            Filed 01/22/24            Page 10 of 75           PageID 11515



              Claims in Its Individual and Derivative Capacities ............................23
       B.     The Bankruptcy Court’s Application of a Heightened “Hybrid”
              Barton Analysis was Erroneous ..........................................................40
              1.       The Gatekeeping Provision Does Not Support a
                       Heightened Barton Standard .....................................................40
              2.       The Bankruptcy Court’s Impermissible Extension of the
                       Barton Doctrine.........................................................................41
              3.       A “Colorable” Claim Need Only Have “Some Possible
                       Validity” ....................................................................................43
       C.     HMIT Pled “Colorable” and Plausible Claims Under the
              Proper, Non-Evidentiary Standard ......................................................44
              1.       HMIT’s Factual Averments are Well-Plead and are
                       “Colorable” and Plausible. ........................................................45
       D.     Alternatively, if the Bankruptcy Court Correctly Determined
              that Its “Hybrid” Barton Analysis Controls, the Bankruptcy
              Court Abused Its Discretion When It Denied HMIT’s
              Requested Discovery and Continuance...............................................49
       E.     Alternatively, HMIT’s Claims are “Colorable” Under the
              Heightened Standard Applied by the Bankruptcy Court ....................50
       F.     The Bankruptcy Court Erred When it Imposed a New
              “Colorability” Standard on Claims Asserted by a Non-Debtor
              Against Non-Debtors Under Stern v. Marshall, and is progeny. ........ 52
       G.     Alternatively, if the Bankruptcy Court Correctly Determined
              that Its “Hybrid” Barton Analysis Controls, the Bankruptcy
              Court Erroneously Excluded Appellant’s Expert Testimony
              And Struck Appellant’s Proffer...........................................................53
              1.       HMIT’s Experts were designated timely. .................................53
              2.       Insufficient Record to Exclude Experts ....................................54
              3.       The Bankruptcy Court Abused its Discretion by
                       Determining Testimony “Not Helpful” ....................................55
       H.     The Bankruptcy Court Erroneously Determined Appellant
              “Cannot Show It is Pursuing the Proposed Claims for a Proper
              Purpose” ..............................................................................................57
 XII. CONCLUSION AND RELIEF SOUGHT ....................................................59

                                                     -viii-
Case 3:23-cv-02071-E      Document 29       Filed 01/22/24     Page 11 of 75     PageID 11516



 XIII. CERTIFICATE OF COMPLIANCE ............................................................60




                                              -ix-
Case 3:23-cv-02071-E                Document 29              Filed 01/22/24             Page 12 of 75             PageID 11517



                                     V.        TABLE OF AUTHORITIES

 Cases
 Pepper v. Litton, 308 U.S. 295, 304-11 (1939) .......................................................37
 In re Mobile Steel Co., Inc., 563 F.2d 692 (5th Cir. 1977)............................... 37, 38
 Allstate Insurance Co. v. Employers Liability Assurance Corp., 445 F.2d 1278,
   1280 (5th Cir.1971) ..............................................................................................36
 Angstadt v. Red Clay Consol. Sch. Dist., 4 A.3d 382, 390 (Del. 2010) ..................31
 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) ..................................................... 44, 45
 Atl. NWI, LLC v. Carlyle Group Inc., No. 2021-0944-SG, 2022 WL 15800272, at
   *6 (Del. Ch. Oct. 28, 2022) ..................................................................................46
 Barton v. Barbour, 104 U.S. 126 (1881) .................................................................42
 BCC Merch. Sols., Inc. v. Jet Pay, LLC, 129 F. Supp. 3d 440, 447 (N.D. Tex.
   2015) .....................................................................................................................23
 Becker v. Noe, No. CV ELH-18-00931, 2019 WL 1415483, at *18 (D. Md. Mar.
   27, 2019) ...............................................................................................................44
 Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-56 & n.3 (2007) ............................45
 Box v. Dallas Mexican Consulate Gen., 487 Fed. Appx. 880, 884–85 (5th Cir. 2012)
    ..............................................................................................................................50
 Brooks v. United Dev. Funding III, L.P., 2020 WL 6132230, at *30 (N.D. Tex.
   Apr. 15, 2020) .......................................................................................................46
 In re Carroll, 850 F. 3d 811 (5th Cir. 2017)............................................................42
 Cheng v. K & S Diversified Investments (In re Cheng), 308 B.R. 448, 455 (9th Cir.
   BAP 2004),’aff'd, 160 Fed.Appx. 644 (9th Cir.2005) ...........................................47
 Chua v. Ekonomou, 1 F.4th 948, 954 (11th Cir. 2021)............................................43
 City of Shreveport v. Shreve Town Corp., 314 F.3d 229, 234–35 (5th Cir. 2002) ....4
 Crosby v. Louisiana Health Serv. & Indem. Co., 647 F.3d 258, 261 (5th Cir. 2011)
    ................................................................................................................................3
 Dodge v. Cotter Corp., 328 F.3d 1212, 1223 (10th Cir. 2003) ................................55
 Dunlap v. State Farm Fire and Cas. Co., 878 A.2d 434, 442 (Del. 2005) .............35
 Edwards v. Gillis, 146 Cal.Rptr.3d 256, 263 (Cal. Ct. App. 4 Dist., 2012) ............36
 Estate of Cornell v. Johnson, 367 P.3d 173, 178 (Idaho 2016) ........................ 29, 35
 Estate of Necastro, No. C.A. 10,538, 1991 WL 29958, at *1 (Del. Ch. Feb. 28,
   1991) .....................................................................................................................32
 Estate of Tigani, No. CV 7339-ML, 2016 WL 593169, at *14 (Del. Ch. Feb. 12,
   2016) .....................................................................................................................32
 Executive Benefits Ins. Agency v. Arkison, 573 U.S. 25, 34 (2014) ..........................3
 Garfield on behalf of ODP Corp. v. Allen, 277 A.3d 296 (Del. Ch. 2022) .............39


                                                                 -x-
Case 3:23-cv-02071-E                Document 29              Filed 01/22/24            Page 13 of 75             PageID 11518



 Giagnorio v. Emmett C. Torkelson Tr., 292 Ill. App. 3d 318, 686 N.E.2d 42 (1997)
    ..............................................................................................................................29
 Gilbert v El Paso Co., 1988 WL 124325, at *9 (Del. Ch. Nov. 21, 1988) .............47
 Giuiricich v. Emtrol Corp., 449 A.2d 232, 238 (Del. 1982) ...................................32
 Gruca v. Alpha Therapeutic Corp., 51 F.3d 638, 643 (7th Cir.1995) .......................57
 Harold H. Huggins Realty, Inc. v. FNC, Inc., 634 F.3d 787, 795 (5th Cir. 2011) 23,
   24
 Hose v. Chicago Nw. Transp., 70 F.3d 968, 973 n.3 (8th Cir.1995) .........................57
 In re Adelphia Commun. Corp., 365 B.R. 24, 71-72 (Bankr. S.D.N.Y. 2007), ’ff'd
   in part sub nom. Adelphia Recovery Tr. v. Bank of Am., N.A., 390 B.R. 64
   (S.D.N.Y. 2008), adhered to on reconsideration, 05 CIV. 9050 (LMM), 2008
   WL 1959542 (S.D.N.Y. May 5, 2008) .................................................................38
 In re Beck Indus., Inc., 725 F.2d 880, 889 (2d Cir. 1984). ......................................42
 In re Coral Petroleum, Inc., 50 B.R. 830, 835-36 (Bk. S.D. Tex. 1985) ................36
 In re Deepwater Horizon, 732 F.3d 326, 340 (5th Cir. 2013 ..................................43
 In re Johnson, 433 B.R. 626 (S.D. Tex. 2010) ........................................................47
 In re Katrina Canal Breaches Litig., 495 F.3d 191 (5th Cir. 2007) ...........................2
 In re Linton, 136 F.3d 544, 546 (7th Cir. 1998) ......................................................42
 In re National Collegiate Student Loan Trusts Litigation, 251 A.3d 116, 185-86
   (Del. Ch. 2020) .............................................................................................. 35, 36
 In re Provider Meds, LP, 514 B.R. 473, 475 (Bankr. N.D. Tex. 2014) ........... 41, 42
 In re Tr. Under Will of Flint for the Benefit of Shadek, 118 A.3d 182, 195 (Del. Ch.
   2015); ....................................................................................................................31
 In re Vistacare Group, LLC, 678 F.3d 218, 234 (3d Cir. 2012) ..............................42
 In re World Mktg. Chi., LLC, 584 B.R. 737, 743 (Bankr. N.D. Ill. 2018) ..............42
 In re Xtreme Power Inc., 563 B.R. 614, 632-33 (Bankr. W.D. Tex. 2016) ..... 33, 47
 In re Yormak, 640 B.R. 491, 508 (M.D. Fla. 2022), appeal dismissed, No. 22-
   11636-BB, 2022 WL 3270056 (11th Cir. July 27, 2022) ......................................59
 In re: Mobilactive Media, LLC, 2013 WL297950 at 24 (Dec. Ch. Jan. 25, 2013) .39
 isenberg v. Chicago Milwaukee Corp., Del.Ch., 537 A.2d 1051, 1062 (1987) ......47
 Johnson v. Johnson, 385 F.3d 503, 531 n.19 (5th Cir. 2004) ..................................27
 Joseph C. Bamford & Young Min Ban v. Penfold, L.P., 2020 WL 967942, at *8
   (Del. Ch. Feb. 28, 2020) .......................................................................................46
 King v. Baylor Univ., 46 F.4th 344, 367 (5th Cir. 2022) ...........................................39
 Kobach Tool Co. v. Corbett-Wallace Corporation, 160 S.W. 2d 509 (Tex. 1942) 39
 League of United Latin Am. Citizens v. Abbott, 604 F. Supp 463, 496-97 (W.D.
   Tex. 2022) .............................................................................................................27
 Leighton Holdings, Ltd. v. Belofsky (In re Kids Creek Partners, L.P.), 2000 WL
   1761020, at *2 (N.D. Ill. Nov. 30, 2000) .............................................................42


                                                                -xi-
Case 3:23-cv-02071-E                Document 29              Filed 01/22/24            Page 14 of 75             PageID 11519



 Louisiana World Exposition v. Fed. Ins. Co., 858 F.2d 233, 245-46 (5th Cir. 1988)
    ....................................................................................................................... 33, 47
 Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61, 112 S.Ct. 2130, 119 L.Ed.2d
   351 (1992).............................................................................................................23
 Mangano v. Pericor Therapeutics, No. CIV.A. 3777-VCN, 2009 WL 4345149, at
   *5 (Del. Ch. Dec. 1, 2009)....................................................................................31
 Mathis v. Exxon Corp., 302 F.3d 448, 460 (5th Cir. 2002) .............................. 55, 56
 Matter of Highland Capital Management, L.P., 74 F.4th 361, 370 (5th Cir. 2023)
    ..............................................................................................................................22
 Maxim Crane Works, L.P. v. Zurich Am. Ins. Co., 11 F.4th 345, 350 (5th Cir. 2021)
    ..............................................................................................................................23
 Mayfield v. Peek, 446 S.W.3d 253 (Tex. App.—El Paso 2017, no pet.).................29
 McAllister v. FDIC, 87 F.3d 762, 766 (5th Cir. 1996) .............................................49
 Metro Storage International, LLC v. Herron, 275 A.3d 810 (Del. Ch. 2022) ........39
 Moore v. Bryant, 853 F.3d 245, 248 (5th Cir. 2017) .................................................1
 Moore, 853 F.3d at 248 ..............................................................................................2
 Morales v. Garland, 27 F.4th 370, 371–72 (5th Cir. 2022) ..................................2, 3
 Niehoff v. Maynard, 299 F.3d 41 (1st Cirt. 2002). ..................................................40
 Pipitone v. Biomatrix, Inc., 288 F.3d 239, 243 (5th Cir. 2002) .............................3, 4
 Prospect Street Energy v. Bhargava, 2016 WL 446202 at *8 (Del. S. Ct. January
   27, 2016) ...............................................................................................................39
 Rende v. Rende, No. 2021-0734-SEM, 2023 WL 2180572, at *11 (Del. Ch. Feb.
   23, 2023) .................................................................................................. 33, 34, 47
 Richardson v. United States, 468 U.S. 317 (1984) ........................................... 43, 44
 Rodriguez v. Riddell Sports, Inc., 242 S.W.3d 567, 581-82 (5th Cir. 2001). ...........54
 Scanlon v. Eisenberg, 2012 WL 169765 (7th Cir. Jan. 20, 2012) .................... 29, 34
 Siefert v. Leonhardt, 975 S.W.2d 489, 492–93 (Mo. Ct. App. 1998) .....................29
 Silver v. City of San Antonio, No. SA-19-MC-1490-JKP, 2020 WL 3803922, at *6
   (W.D. Tex. July 7, 2020). .....................................................................................41
 Silver v. Perez, No. SA-20-MC-0655-JKP, 2020 WL 3790489, at *4 (W.D. Tex.
   July 7, 2020) .........................................................................................................41
 Smith v. Bank of Am., NA, 615 F.App’x 830, 833 (5th Cir. 2015) ...........................44
 Smith v. Bank of Clearwater, 479 So. 2d 755 (Fla. Dist. Ct. App. 1985) ...............29
 Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016) ...................................................23
 Tigani v. Tigani, No. CV 2017-0786-KSJM, 2021 WL 1197576, at *14 (Del. Ch.
   Mar. 30, 2021), aff’d, 271 A.3d 741 (Del. 2022) .................................................31
 Trippodo v. SP Plus Corp., No. 4:20-CV-04063, 2021 WL 2446204, at *3 (S.D.
   Tex. May 21, 2021), report and recommendation adopted, No. 4:20-CV-04063,
   2021 WL 2446191 (S.D. Tex. June 15, 2021) .....................................................44
 U.S. v. Contorinas, 672 F.3d 136 (2nd Cir. 2012) ............................................. 12, 13
                                                               -xii-
Case 3:23-cv-02071-E                Document 29             Filed 01/22/24             Page 15 of 75            PageID 11520



 United Fire & Cas. Co. v. Whirlpool Corp., 704 F.3d 1338, 1341–42 (11th
   Cir.2013) ...............................................................................................................57
 United States v. Schiff, 538 F. Supp. 2d 818, 844 fn. 26 (D.N.J. 2008),’aff’d, 602
   F.3d 152 (3d Cir. 2010) ........................................................................................57
 US Bank Assoc. v. Verizon Commun., Inc., 817 F.Supp. 934, 944 (N.D. Tex. 2011)
   ..............................................................................................................................40
 Wilmington Trust Co. v. Barry, 338 A.2d 575, 578 (Del Super. Ct. 1975), aff’d,
   359 A.2d 664 (Del. 1976)) ...................................................................................32
 Wiwa v. Royal Dutch Petroleum Co., 392 F.3d 812, 818 n.35 (5th Cir. 2004) ........49
 Yellowhouse Machinery Co. v. Mack (In re Hughes), 704 F.2d 820, 822 (5th
   Cir.1983) ...............................................................................................................47
 Statutes
 Bankruptcy Code § 510 ...........................................................................................37
 DEL. CODE ANN. Tit. 12, § 3809 ..............................................................................34
 DEL. CODE. ANN. Tit. 12, § 3801 .............................................................................31
 DEL. CODE. ANN. Tit. 12, § 3806)............................................................................35
 DEL. CODE. ANN. tit. 12, § 3816........................................................................ 29, 30
 Section 3327 of the Delaware Code.........................................................................32
 Other Authorities
 § 22:28. Beneficial ownership and convertible securities .......................................36
 1F Going Public Corp. § 22:28 ................................................................................36
 28 U.S.C. § 158(a) .....................................................................................................1
 7 Collier on Bankruptcy, para. 1109.08 ...................................................................22
 Black’s Law Dictionary .................................................................................... 31, 32
 RESTATEMENT (SECOND) OF TRUSTS ........................................................................34
 RESTATEMENT (SECOND) OF TRUSTS Sec. 199 .........................................................29
 RESTATEMENT (THIRD) OF TRUSTS .................................................................... 31, 32
 Rules
 Bankruptcy Rule of Procedure 9014 ........................................................................54
 FED. R. BANKR. P. 8002 .............................................................................................1
 Fed. R. Bankr. P. 8012 ............................................................................................... i
 FED. R. BANKR. P. 8019 ......................................................................................... i
 FED. R. BANKR. P. 9017 ...........................................................................................20
 FED. R. CIV. P. RULE 17 ...........................................................................................23
 FED. R. EVID. 103(c).................................................................................................55
 FED. R. EVID. 401 .....................................................................................................56
 Federal Rule of Civil Procedure 12(b)(6) ............................................................6, 44
 Rule 103(a)(2) ..........................................................................................................20
 Rule 26(a)(2)(b) .......................................................................................................54
                                                              -xiii-
Case 3:23-cv-02071-E   Document 29      Filed 01/22/24   Page 16 of 75    PageID 11521



                    VI.    JURISDICTIONAL STATEMENT

       HMIT appeals from an order of the bankruptcy court denying HMIT’s motion

 for leave to file an adversary proceeding raising breach of fiduciary duty and other

 tort claims (the “Order Denying Leave”) (ROA.000835), associated rulings and an

 order denying HMIT’s motion for reconsideration and other relief (“Motion to

 Alter”) pursuant to Federal Rules of Bankruptcy Procedure 7052, 9023 and 9024

 (the “Order Denying Post-Judgment Relief”). ROA.001045.

       The Order Denying Leave and the Order Denying Post-Judgment Relief are

 final and appealable. Accordingly, this Court has jurisdiction over this appeal. 28

 U.S.C. § 158(a). HMIT timely appealed on September 8, 2023, and timely filed an

 amended notice of appeal following the Order Denying Post-Judgment Relief.

 ROA.000001, 000551; FED. R. BANKR. P. 8002.

      VII. STATEMENT OF ISSUES PRESENTED AND APPLICABLE
                       STANDARD OF REVIEW

    1. Whether the bankruptcy court erred in determining that HMIT lacked

       constitutional and prudential standing to bring its claims in its individual and

       derivative capacities. ROA.000894-917.

       Standard of Review: Dismissal for lack of standing is reviewed de novo.

       Moore v. Bryant, 853 F.3d 245, 248 (5th Cir. 2017).

    2. Whether the bankruptcy court erred in denying HMIT’s Motion to Alter,

       which further confirmed HMIT’s constitutional and prudential standing.
                                           1
Case 3:23-cv-02071-E      Document 29   Filed 01/22/24   Page 17 of 75   PageID 11522



       ROA.001045-001048.

       Standard of Review: Dismissal for lack of standing is reviewed de novo.

       Moore, 853 F.3d at 248.

    3. Whether the bankruptcy court erred when it crafted a new standard described

       as “an additional level of review,” requiring HMIT to prove a prima facie

       case that HMIT’s proposed claims are “not without foundation, are not

       without merit, and are not being pursued for any improper purpose such as

       harassment” (ROA.000925) to assess whether HMIT has asserted colorable

       claims under the Gatekeeper Provision in the Fifth Amended Plan of

       Reorganization, as modified (the “Plan”).

       Standard of Review: Whether a court applied an incorrect legal standard is a

       question of law reviewed de novo. Morales v. Garland, 27 F.4th 370, 371–72

       (5th Cir. 2022).

    4. Whether the bankruptcy court erred when it held that HMIT did not assert

       plausible or colorable claims under the Gatekeeper Provision assuming a

       correct Rule 12(b)(6)-type analysis.

       Standard of Review: A dismissal for failure to state a claim is reviewed de

       novo. In re Katrina Canal Breaches Litig., 495 F.3d 191 (5th Cir. 2007).

    5. If the bankruptcy court correctly applied its “additional level of review,”

       which included an evidentiary hearing, whether the bankruptcy court erred in


                                           2
Case 3:23-cv-02071-E      Document 29   Filed 01/22/24   Page 18 of 75   PageID 11523



       determining HMIT had not asserted colorable claims under the Gatekeeper

       Provision?

       Standard of Review: A court’s factual findings are reviewed for “clear error.”

       Pipitone v. Biomatrix, Inc., 288 F.3d 239, 243 (5th Cir. 2002);

    6. Whether the bankruptcy erred when it imposed a new hybrid standard on

       claims asserted by a non-debtor against non-debtors under Stern v. Marshall

       and its progeny.

       Standard of Review: Whether a matter is a core or non-core matter under

       Stern v. Marshall is subject to de novo review. Executive Benefits Ins. Agency

       v. Arkison, 573 U.S. 25, 34 (2014).

    7. If the bankruptcy court correctly applied its “additional level of review,”

       which included an evidentiary hearing, whether the bankruptcy court violated

       HMIT’s due process rights by denying HMIT’s requested discovery and/or

       continuance.

       Standard of Review: Whether a court applied an incorrect legal standard is a

       question of law reviewed de novo. Morales, 27 F.4th at 371-372. Discovery

       rulings are reviewed for abuse of discretion. Crosby v. Louisiana Health Serv.

       & Indem. Co., 647 F.3d 258, 261 (5th Cir. 2011).

    8. If the bankruptcy court correctly applied its “additional level of review,”

       which included an evidentiary hearing, whether the bankruptcy court erred by


                                           3
Case 3:23-cv-02071-E   Document 29     Filed 01/22/24   Page 19 of 75   PageID 11524



       excluding HMIT’s experts’ testimony without a Daubert hearing, and then

       striking from the record HMIT’s proffer of expert testimony.

       Standard of Review: A court’s determination of admissibility of expert

       evidence is reviewed for abuse of discretion. Pipitone, 288 F.3d at 243 (5th

       Cir. 2002).

    9. Whether the bankruptcy court committed clear error when it applied an

       “additional level of review,” and judged the credibility of HMIT’s claims,

       based upon unsupported findings that James Dondero (“Dondero”) controls

       HMIT and is “Dondero by another name” and, as such, HMIT “cannot show

       that it is pursuing the Proposed Claims for a proper purpose” under its

       “additional level of review” standard.

       Standard of Review: A court’s factual findings are reviewed for “clear error.”

       Id.

    10.Whether the bankruptcy court erred when it rejected the punitive damage

       claim in the proposed pleadings.

       Standard of Review: The application of state law is reviewed de novo. City

       of Shreveport v. Shreve Town Corp., 314 F.3d 229, 234–35 (5th Cir. 2002)

                             VIII. INTRODUCTION

       HMIT was the owner of a 99.5% limited partner interest in Highland Capital

 Management, LLC (“HCM” or “Debtor”) when HCM filed for voluntary bankruptcy


                                          4
Case 3:23-cv-02071-E      Document 29       Filed 01/22/24      Page 20 of 75      PageID 11525



 in 2019. Following the Plan’s Effective Date, HMIT’s equity interest was exchanged

 for a Class 10 beneficial interest under the Highland Claimant Trust (“Claimant

 Trust”), which owned the Debtor’s assets following the Effective Date.

        By its Motion for Leave, HMIT sought to bring an adversary proceeding

 subject to the Plan’s Gatekeeper Provision. (ROA 001660).1 That provision required

 HMIT to allege “colorable” claims against the proposed defendants and obtain leave

 to sue. More specifically, HMIT was seeking permission to file an adversary

 proceeding against HCM’s Chief Executive Officer (“CEO”) and Chief

 Restructuring Officer (“CRO”), James Seery (“Seery”), who conspired with non-

 creditors to use material non-public information (“MNPI”) in connection with their

 purchases of large unsecured claims in HCM’s bankruptcy. HMIT alleged that Seery

 provided friendly business allies with MNPI allowing them to make enormous

 profits, and then placed these allies on an oversight board with authority to approve

 Seery’s excessive compensation. The proposed pleadings included claims for

 breaches of fiduciary duty, aiding and abetting, conspiracy, unjust enrichment,

 constructive trust, equitable disallowance, and declaratory relief.

        Viewed through an objective lens, the proceedings in the bankruptcy court

 were stripped of due process. The bankruptcy court disregarded binding precedent



 1
  The Order Denying Leave refers to the Plan “Gatekeeping Provision” and other similar orders
 which preceded the Plan. References to “Gatekeeping Provision” herein refers to all such orders.

                                                5
Case 3:23-cv-02071-E    Document 29      Filed 01/22/24    Page 21 of 75    PageID 11526



 and fabricated an erroneous standard of review, which the bankruptcy court

 described as a “hybrid” or “additional level of review” for “this bankruptcy case.”

 By doing so, the bankruptcy court singled-out HMIT and imposed a uniquely

 heightened burden for “colorability” that neither the Plan nor any governing

 authority contemplates.

       The bankruptcy court’s application of this “hybrid” standard, as well as

 conducting an inappropriate evidentiary hearing, constitutes reversible error. Under

 the correct legal standard—analogous to Federal Rule of Civil Procedure 12(b)(6)—

 HMIT asserted plausible and colorable claims, and the bankruptcy court erred in

 concluding otherwise, and further erred when it determined there were “mixed issues

 of law and fact.”

       At an initial pleading stage, the bankruptcy court refused to accept HMIT’s

 well-pleaded factual allegations as true. Instead, the bankruptcy court required

 HMIT to prove its claims at an improper evidentiary hearing under the “hybrid”

 standard—without basic discovery or expert opinions. The bankruptcy court also

 relied on “background and context” that had nothing to do with HMIT to impugn

 HMIT’s claims and motivations. By doing so, the bankruptcy court denied HMIT a

 basic right – the right to pursue colorable claims for itself and derivatively on behalf

 of the Reorganized Debtor and the Highland Claimant Trust (the “Claimant Trust”).

       HMIT had and continues to have standing as a real party interest and as an


                                            6
Case 3:23-cv-02071-E       Document 29     Filed 01/22/24   Page 22 of 75   PageID 11527



 aggrieved party to assure that properly held claims are paid timely and fairly. The

 proposed claims are colorable, HMIT has direct and derivative standing to pursue

 these claims, and the bankruptcy court erred by shutting the courthouse doors. This

 Court should reverse.

                          IX.    STATEMENT OF THE CASE

 A.       HCM Files for Bankruptcy

          On October 16, 2019, HCM filed a voluntary petition under chapter 11 of the

 Bankruptcy Code. 2 Seery was later appointed as HCM’s CEO, in place of Mr. James

 Dondero (“Dondero”), as well as the Debtor’s CRO.3

 B.       The Purchase of the Largest Unsecured Claims was Tainted

          As the Debtor’s new CEO and CRO, Seery obtained bankruptcy court

 approval for settlements with the largest unsecured creditors who also served on the

 Unsecured Creditors Committee (“UCC”). This included the Redeemer Committee,

 Acis, UBS, and HarbourVest (collectively, the “Settling Parties”), as follows:4

                      Creditor             Class 8          Class 9
                      Redeemer            $137 mm            $0 mm
                      Acis                $23 mm             $0 mm
                      HarbourVest         $45 mm            $35 mm
                      UBS                 $65 mm            $60 mm
                      (TOTALS)              $270              $95


 2
     ROA.003345; ROA.001897.
 3
     ROA.003346; ROA.001897
 4
     See Order Confirming the Plan. ROA.001660
                                                 7
Case 3:23-cv-02071-E      Document 29      Filed 01/22/24   Page 23 of 75    PageID 11528



          As reflected in these settlements, HarbourVest and UBS owned unsecured

 claims that would become Class 9 claims and Class 8 Claims following the Effective

 Date. 5 Class 9 Claims were subordinated to Class 8 Claims in the distribution

 waterfall.6 As a holder of Class 10 Claims, HMIT is entitled to distributions from

 the Claimant Trust after Class 8 and Class 9 Claims are paid in full with interest. 7

          Each of the Settling Parties subsequently sold their claims to third parties who

 were Seery’s professional acquaintances, but who were strangers to HCM’s

 bankruptcy otherwise. The claims were acquired by Muck Holdings, LLC (“Muck”)

 and Jessup Holdings, LLC (“Jessup”), which were shell entities created by two large

 hedge funds, Farallon Capital Management, L.L.C. (“Farallon”) and Stonehill

 Capital Management LLC (“Stonehill”) (collectively Muck, Jessup, Farallon, and

 Stonehill, the “Outside Purchasers”). 8 Muck and Jessup were organized on the eve

 of taking title to the claims at issue (the “Disputed Claims”). By virtue of these

 purchases, the Outside Purchasers ascended to powerful positions on the Claimant

 Trust’s Oversight Board following the Plan’s Effective Date. 9 Each of the Disputed

 Claims were purchased, however, prior to the Effective Date.10

 5
     ROA.003346-47; ROA.001864-65.
 6
     ROA.003347. ROA.001685-1687.
 7
     ROA.003339; ROA.007392-93.
 8
     ROA.003340; ROA.003344; ROA.001861; ROA.009706; ROA.008578-81; ROA.007465-7499.
 9
     ROA.003354; ROA.007446.
 10
      ROA.003348; ROA.001855, ROA.1864-65, ROA.007465-7499.

                                              8
Case 3:23-cv-02071-E      Document 29       Filed 01/22/24     Page 24 of 75      PageID 11529



          HMIT alleges, and the Outside Purchasers have never denied, that the Outside

 Purchasers invested over $160 million to acquire the Disputed Claims, 11 and they

 did so without conducting due diligence.12 Seery (the Debtor’s CEO) testified at the

 June 8 Hearing that the Debtor had no due diligence data room.13

          When the Outside Purchasers made their investments, the only public

 information relating to the Debtor’s financial condition was pessimistic—including

 projections that Class 8 Claims would receive only partial payments while

 subordinated Class 9 claims would receive nothing. 14 The Debtor’s Disclosure

 Statement publicly projected payment of only 71.32% for Class 8 claims, and 0%

 for claims in Classes 9-11.15

          As well-pled in HMIT’s proposed pleadings, despite these pessimistic public

 projections, Farallon rejected selling its claims for a significant premium above what

 it initially paid just weeks before, because Seery improperly provided Farallon with

 MNPI which included Seery’s assurances that the Disputed Claims were even more

 valuable. 16 This factual allegation was further evidenced by hand-written notes


 11
      ROA.003348; ROA.001864-65.
 12
    ROA.003348-54; ROA.003357-63. The bankruptcy court incorrectly stated that there were no
 allegations that Stonehill failed to conduct due diligence. But, the proposed pleadings alleges
 otherwise. ROA.003334, 003348, 003352.
 13
      ROA.009696.
 14
      ROA.003348-49; ROA.001864-65, ROA.009563-9564.
 15
      ROA.003348-49; ROA.001866.
 16
      ROA.003349-50; ROA.009594-95; ROA.006693-96.

                                               9
Case 3:23-cv-02071-E     Document 29     Filed 01/22/24    Page 25 of 75   PageID 11530



 prepared by Dondero, which the Outside Purchasers never controverted.17

          The relevant math is compelling. The Outside Purchasers invested an

 estimated $160 million to acquire unsecured claims when the Debtor’s public

 disclosures indicated a $0 return for Class 9 Claims and substantially less than par

 value on Class 8 Claims. 18 On this basis alone, the Outside Purchasers could never

 justify the risks of their investments to their own investors.19

 C.       The Outside Purchasers’ Had Prior Relationships with Seery

          HMIT’s proposed pleadings make clear that the Outside Purchasers enjoyed

 prior business relationships with Seery. 20 Seery admitted to scheduling and

 travelling to private “meet and greets” with Farallon and exchanging email

 communications with Farallon regarding HCM’s bankruptcy.21 Likewise, Seery had

 a longstanding relationship with Stonehill’s founder; Seery represented Stonehill in

 prior bankruptcy proceedings; Seery served as a co-chair for a charitable event for

 Stonehill in New York; and (similar to Farallon) Stonehill contacted Seery seeking

 to become involved in HCM’s bankruptcy even though Stonehill was not a




 17
      ROA.006693-95; ROA.009590-96.
 18
      ROA.003348-49; ROA.001866.
 19
      ROA.003334; ROA.009944-010012.
 20
      ROA.003350-54.
 21
      ROA.009681-86.

                                           10
Case 3:23-cv-02071-E      Document 29   Filed 01/22/24   Page 26 of 75     PageID 11531



 creditor.22

 D.       Material Non-Public Information

          On December 17, 2020, Seery received an email containing MNPI from

 Dondero concerning interest in acquiring MGM. 23 Dondero, who was HCM’s

 original founder and former CEO, also served on MGM’s Board of Directors due to

 HCM’s stake in MGM. 24 Dondero’s email to Seery (the “Dondero Email”) stated: 25




          Although media rumors had been swirling around a potential MGM sale for

 years, the information Seery received from Dondero, an active member of MGM’s

 Board, was qualitatively different 26 – the Dondero Email described an MGM sale in



 22
      ROA.009686-96.
 23
      ROA.003350; ROA.006692.
 24
      ROA.003350; ROA.9574-9584.
 25
      ROA.006691 (Emphasis added).
 26
      ROA.009583-84. Compare ROA.008890 with ROA.004326 with ROA.004282.

                                           11
Case 3:23-cv-02071-E      Document 29       Filed 01/22/24     Page 27 of 75      PageID 11532



 terms of “probability” within a certain time frame. The materiality of this

 information is reinforced because it came from an active member of MGM’s

 Board. 27

          Upon receipt of this MNPI, Seery should have halted all transactions

 involving MGM stock. Yet, just six days later, Seery filed a motion and obtained

 bankruptcy court approval of HCM’s settlement with HarbourVest – resulting in a

 transfer to the HCM’s Estate of HarbourVest’s interest in Highland CLO Funding,

 Ltd. (“HCLOF”), which held substantial MGM debt and equity.28 Then, on April 7,

 2021, HCM removed MGM from HCM’s “Restricted List,” suggesting that HCM

 did not possess MNPI regarding MGM—which was untrue.29

          Importantly, HMIT’s proposed pleadings made clear that the Outside

 Purchasers also acted on additional MNPI. 30 HMIT’s proposed pleadings assert

 well-pleaded factual allegations that Seery communicated insider knowledge that

 the publicly disclosed projections were too low, and that the Disputed Claims were

 worth substantially more.31 In particular, the pleadings make non-conclusory factual




 27
   See U.S. v. Contorinas, 672 F.3d 136 (2nd Cir. 2012) for a discussion concerning distinctions
 between media reports and MNPI data. The Order Denying Leave distorts this distinction.
 28
      ROA.003350-51; ROA.009753. ROA.009750; ROA.009751; ROA.009751-52.
 29
      ROA.003350, ROA.003352-54; ROA.009575-76; ROA.009582-83.
 30
      ROA.003338; ROA.003347-3356.
 31
      ROA.003347-3356.

                                               12
Case 3:23-cv-02071-E        Document 29      Filed 01/22/24    Page 28 of 75     PageID 11533



 allegations that Farallon refused to sell at a substantial premium because Seery said

 the claims were worth more. 32 These assurances constitute MNPI. 33

 E.       The Plan’s Gatekeeper Provision

          The confirmed Plan created the Reorganized Debtor and provided for the

 Highland Claimant Trust (“Claimant Trust”), which was created to hold both

 monetized and non-monetized assets previously held by the Debtor. Following the

 Effective Date, Seery became the Trustee of the Claimant Trust. 34

          The Plan provided that each of the “Released Parties” (including Seery) was

 released and discharged by the Debtor and the estate (including the Claimant Trust)

 from any and all causes of action, including derivative claims except “any Causes of

 Action arising from the willful misconduct, criminal misconduct, actual fraud or

 gross negligence.” 35 The Plan also included the Gatekeeping Provision which

 precluded claims against a “Protected Party” unless the bankruptcy court granted

 leave to file the claim.

 F.       Beneficiaries Under the Claimant Trust

          HMIT is an allowed Class 10 Class B/C Limited Partnership Interest and




 32
      ROA.003349-50; ROA.009594-96.
 33
      ROA.006693-95; ROA.009592-96. See U.S. v. Contorinas, 672 F.3d 136 (2nd Cir. 2012)
 34
      ROA.001693; ROA.003346.
 35
      ROA.001708, 1733-34, 001760-1761. See generally, ROA.001660; ROA.001724.

                                               13
Case 3:23-cv-02071-E        Document 29      Filed 01/22/24    Page 29 of 75     PageID 11534



 Contingent Trust Interest holder under the Claimant Trust. 36 HMIT’s rights in the

 waterfall are subordinated to the other allowed unsecured creditors in Class 8 and

 Class 9. 37 However, the vast majority of these “superior” claims consist of the

 Disputed Claims acquired by the Outsider Purchasers through their wrongful

 conduct. 38

 G.       HMIT Filed Its Emergency Motion for Leave

          On March 28, 2023, HMIT filed its Motion for Leave in both its individual

 and derivative capacities seeking leave under the Gatekeeper Provision to file an

 adversary proceeding against the Outside Purchasers and Seery (collectively, the

 “Proposed Defendants”).39 HMIT’s Motion for Leave attached a draft complaint,40

 asserting claims based upon factual averments identifying the who, when and what

 facts to satisfy relevant pleading requirements. These claims included allegations of

 willful and knowing breaches of fiduciary duty, participation (or aiding and abetting)

 in breaches of fiduciary duty, and conspiracy concerning the Disputed Trades.41 In

 addition to seeking declarations of HMIT’s rights as a “vested” beneficiary under



 36
      ROA.003339; ROA.007393.
 37
      ROA.003339; ROA.001685-1687.
 38
      See ROA.003346-47; ROA.007464-7499; ROA.006952.
 39
      ROA.001849.
 40
      The Motion for Leave was supplemented and attached a revised complaint. ROA.003323.
 41
   ROA.003349-54 (“who”); ROA.003348-50 (“when”);                  ROA.003349-54     (“what”).
 ROA.003354; ROA.003349-49; ROA.010062-10134.

                                               14
Case 3:23-cv-02071-E         Document 29      Filed 01/22/24         Page 30 of 75      PageID 11535



 the Claimant Trust, the proposed adversary proceeding also seeks other redress,

 including actual damages, punitive damages, disgorgement, imposition of a

 constructive       trust,   equitable     disallowance        or,     alternatively,     equitable

 subordination.42

 H.       The Bankruptcy Court Rejected a Rule 12(b)(6)-Type Analysis.

          Following communications from the bankruptcy court suggesting an

 evidentiary format for the hearing, HMIT filed a written objection making clear that

 any determination concerning “colorability” was based upon a standard that does not

 require evidence. An evidentiary hearing would improperly shift the gatekeeping

 analysis from “whether the underlying proposed complaint presents colorable claims

 to whether HMIT will ultimately be successful in its prosecution of the asserted

 claims.”43 HMIT restated its objections on April 24, 2023, during a court-ordered

 status conference.44 HMIT should not have been required to participate in a trial on

 the merits to determine whether HMIT could proceed to a trial on the merits.45


 42
      ROA.003357-3367.
 43
      ROA.003309.
 44
      ROA.003379-81; ROA.003421-22.
 45
   At page 20 of the Order Denying Leave (ROA.000854), the bankruptcy court attempted to
 justify an evidentiary hearing because the original Motion for Leave attached affidavits. There is
 no case law suggesting that a motion seeking leave cannot be supported by affidavits, and this does
 not trigger an evidentiary hearing. Regardless, HMIT supplemented its Motion for Leave
 withdrawing these affidavits. See generally, ROA.003223, ROA.004984. The Court also criticized
 HMIT for failing to “redact allegations in the proposed complaint” that were supported by the
 withdrawn affidavits. See Order Denying Relief at 84. But, there is no procedural requirement to
 do so.

                                                 15
Case 3:23-cv-02071-E         Document 29   Filed 01/22/24   Page 31 of 75   PageID 11536



          On May 22, 2023, the Court entered an order holding that “there may be mixed

 questions of fact and law” whether HMIT’s claims are colorable, and ordering that

 “the parties will be permitted to present evidence (including witness testimony) at

 the June 8, 2023 hearing.”46 Importantly, this order did not limit or exclude who

 could be called to testify.47

          HMIT subsequently filed an emergency motion for expedited discovery or a

 continuance, specifically seeking expedited depositions of Seery and the corporate

 representatives of the Outside Purchasers – along with relevant documents related

 to the factual background of HMIT’s claims. 48 The document requests focused on,

 inter alia, relevant communications between the Outside Purchasers and Seery in

 connection with the Disputed Claims, use of MNPI regarding the acquisition of the

 Disputed Claims, and valuation of the Disputed Claims.49

          On May 26, 2023, the bankruptcy court denied HMIT’s motion for

 continuance, ordered that the parties were limited to two depositions only – Seery

 and/or Dondero – and that “[n]one of the other parties shall be entitled to any other

 discovery, including the production of documents from Mr. Seery or Dondero.” 50



 46
      ROA.004712.
 47
      ROA.004712-13.
 48
      ROA.004836.
 49
      See ROA.004845-4914.
 50
      ROA.004959.

                                             16
Case 3:23-cv-02071-E         Document 29    Filed 01/22/24      Page 32 of 75    PageID 11537



          On June 2, 2023, HMIT took Serry’s deposition via videoconference, but was

 forced to do so without any document discovery from any party, even though HMIT

 had requested document discovery. 51           HMIT was prevented from taking the

 depositions of the Outside Purchasers.52

 I.       The June 8 Hearing and Exclusion of HMIT’s Expert Testimony and
          Strike of Proffer

          On June 5, 2023, HMIT timely filed its Witness and Exhibit List related to

 June 8 Hearing, which included potential witnesses Seery, Dondero, Mark Patrick,53

 and two expert witnesses, Scott Van Meter and Steve Pully (“HMIT’s Experts”).54

 HMIT’s Experts, who were experienced in claims trading and bankruptcy

 reorganization, were timely disclosed in compliance with the relevant briefing

 schedule and Bankruptcy Rule 9014. Even though not required, HMIT’s witness

 disclosures attached the experts’ CV’s and provided an outline of the expert’s

 opinions concerning, inter alia, the economic risks associated with the Disputed




 51
      See ROA.004845-4914.
 52
   ROA.004959-60. At Page 26 (ROA.000860), The Order Denying Leave references HMIT’s
 prior Rule 202 Petition in Texas state court, which was denied without prejudice —presumably
 based upon arguments of the Outside Purchasers that the bankruptcy court was a more efficient
 forum to address discovery. See ROA.002191-92 When HMIT requested discovery in the
 bankruptcy court, the Opposing Purchasers still opposed it, and it was denied. ROA.004959. See
 ROA.009884.
 53
      Mark Patrick was the Administrator of HMIT. ROA.009764.
 54
      ROA.006608-6621.

                                              17
Case 3:23-cv-02071-E      Document 29     Filed 01/22/24   Page 33 of 75   PageID 11538



 Trades, Seery’s excessive compensation, and the probable use of MNPI. 55 In

 response, on June 7, 2023, HCM and Seery filed a motion to exclude the testimony

 of HMIT’s Experts. 56

          At the outset of the June 8 Hearing, and over HMIT’s objections, the

 bankruptcy court denied a continuance, proceeded with an evidentiary hearing

 without a Daubert inquiry, refused to permit HMIT’s Experts to testify, and took the

 Motion to Exclude under advisement.57

          At the June 8 hearing, Dondero provided testimony as a live witness, which

 included:

          • Dondero was a Board Member of MGM, and had a duty to disclose
            material information he received concerning HCM related to the
            imminent sale of MGM, which was not publicly available; 58

          • In a telephone call in the Spring 2021, Farallon effectively admitted
            it had not conducted due diligence and relied on Seery’s assurances
            regarding the value of the Disputed Claims; Farallon also rejected a
            premium to sell the Disputed Claims because Seery represented that
            the Disputed Claims were far more valuable;59

          • Farallon stated that it was “optimistic” about MGM; 60



 55
      ROA.006608-6621; ROA.007500-7539.
 56
      ROA.9273.
 57
      ROA.009912.
 58
      ROA.009573-75; ROA.009583-84.
 59
      ROA.009589-96.
 60
      ROA.009595-96.

                                            18
Case 3:23-cv-02071-E     Document 29   Filed 01/22/24   Page 34 of 75    PageID 11539



 A copy of Dondero’s handwritten notes reflecting his conversation with Farallon is

 set forth below:




 The Outside Purchasers did not present any evidence controverting Dondero or his

 notes.

 J.       The Bankruptcy Court’s Orders Excluding Experts

          On June 16, 2023, the bankruptcy court entered an order excluding HMIT’s

 Experts and characterized HMIT’s discovery requests and expert tender as a

 “sideshow,” 61 even though the requested discovery and expert witness were

 necessitated by the decision to hold a one-of-a-kind evidentiary hearing.

          On June 19, 2023, HMIT filed its Evidentiary Proffer Pursuant to Rule




 61
      ROA.009914.

                                          19
Case 3:23-cv-02071-E     Document 29     Filed 01/22/24    Page 35 of 75     PageID 11540



 103(a)(2), offering declarations from HMIT’s Experts. 62 See also FED. R. BANKR. P.

 9017. But the bankruptcy court struck this proffer stating that the “substance of the

 excluded evidence was quite apparent from the context”—despite the Court having

 never heard their opinions.63

 K.       The Bankruptcy Court Entered Its Order Denying HMTI’s Motion for
          Leave and its Order Denying HMIT’s Motion to Alter

          On August 25, 2023, the bankruptcy court issued its Order Denying Leave

 [Bankr. Dkt. Nos. 3903 and 3904]. 64 Among other erroneous holdings, the Court

 concluded that HMIT lacked standing to bring the proposed claims, and the proposed

 claims were not “colorable” under a newly crafted standard for “an additional level

 of review,” that required HMIT to prove a prima facie case that its proposed claims

 are “not without foundation, are not without merit, and are not being pursued for

 any improper purpose such as harassment.” 65

          On September 8, 2023, HMIT filed it Motion to Alter,66 seeking modification

 of the Order Denying Leave. This post-hearing motion was predicated upon new

 financial data disclosed in July 2023, which corroborated HMIT’s “in the money”



 62
      ROA.009944.
 63
   See ROA.009474-75, ROA.009477 (“[P]lease note our objection.”), ROA.009481 (“No experts
 today”).
 64
      ROA.000835.
 65
      ROA.000925.
 66
      ROA.010062.

                                            20
Case 3:23-cv-02071-E      Document 29     Filed 01/22/24    Page 36 of 75     PageID 11541



 status and as a real party in interest.67 These financial disclosures 68 showed that the

 Claimant Trust had $247 million in assets and $139 million in remaining, unpaid

 Class 8 and 9 Claims. 69 Thus, these disclosures reinforced HMIT’s standing because

 all Class 8 and Class 9 creditors could be paid in full with interest with surplus assets.

          On October 4, 2023, the bankruptcy court denied HMIT’s Motion to Alter,

 holding that the post-hearing financial disclosures were “not materially different

 than information that was already on file in the bankruptcy case,” and the disclosures

 did not evidence that HMIT was “in the money.”70 The bankruptcy court ostensibly

 made this latter determination based upon unspecified future expenses despite, on

 the face of the disclosures, the Claimant Trust had $247 million in assets to pay only

 $139 million in Class 8 and 9 claims. 71

                         X.     SUMMARY OF ARGUMENT

          The bankruptcy court committed reversible error as a matter of law and abused

 its discretion in multiple respects:

          • when holding that HMIT lacked constitutional standing (both in its
            individual and derivative capacities) even though HMIT pled
            injuries that are fairly traceable to the Proposed Defendants’
            wrongful conduct, are redressable and are, actual, concrete, and


 67
      ROA.010064-66; ROA.010070-010083.
 68
      ROA.010029-30, ROA.010062.
 69
      ROA.010033-34.
 70
      ROA.001046-48.
 71
      ROA.010064-66; ROA.001047.

                                            21
Case 3:23-cv-02071-E       Document 29        Filed 01/22/24       Page 37 of 75      PageID 11542



             imminent. 72 As such, HMIT also has appellate standing as an
             aggrieved party.73

          • when holding that HMIT lacked prudential standing (both in its
            individual and derivative capacities), even though HMIT holds a
            beneficial interest under relevant Delaware trust law and,
            accordingly, is a real-party-in-interest, and has held this interest
            continuously since the date of the transactions at issue through the
            filing of this appeal.

          • when it denied HMIT’s Motion to Alter which demonstrated that
            HMIT was “in the money” corroborating HMIT’s constitutional and
            prudential standing.

          • when it applied its “hybrid” evidentiary standard for “this” case to
            evaluate whether HMIT’s claims were “colorable.”

          • when it conducted an evidentiary hearing, over HMIT’s objections,
            and then rejected HMIT’s request to conduct relevant discovery or
            present relevant expert opinions.

          • when it ignored well-pleaded factual allegations74 that established
            the “colorability” of HMIT’s individual and derivative claims.

          • when it made sweeping, unsupported generalizations concerning a
            purported, but disputed relationship between Dondero and HMIT to
            support the Order Denying Relief.

          In sum, the bankruptcy court’s holdings and actions leading up to, during and

 following the June 8 Hearing rendered the entire proceedings an exercise in



 72
      See ROA.003335; ROA.003341; see also, ROA.003357-67. ROA.001854-55, ROA.001880-82.
 73
    Id. See also, Matter of Highland Capital Management, L.P., 74 F.4th 361, 370 (5th Cir. 2023)
 (a party qualifies as a “person aggrieved” if the decision in question adversely affects the party's
 pecuniary interest.”) (citing 7 Collier on Bankruptcy, para. 1109.08 (16th ed. 2022).
 74
      ROA.003349-54; ROA.003348-50; ROA.003349-54.

                                                 22
Case 3:23-cv-02071-E      Document 29      Filed 01/22/24     Page 38 of 75     PageID 11543



 procedural irregularities. The bankruptcy court allowed the Proposed Defendants to

 cherry-pick their evidence without being subject to meaningful discovery or cross-

 examination, while forcing HMIT new “additional level of review.” From start to

 finish, the deck was unfairly stacked against HMIT.

                       XI.     ARGUMENT & AUTHORITIES

 A.     HMIT has Constitutional and Prudential Standing to Bring Its
        Claims in Its Individual and Derivative Capacities

        To have constitutional standing, a plaintiff “must allege an injury in fact that

 is fairly traceable to the defendant's conduct and likely to be redressed by a favorable

 ruling. Harold H. Huggins Realty, Inc. v. FNC, Inc., 634 F.3d 787, 795 (5th Cir.

 2011), Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61, 112 S.Ct. 2130, 119

 L.Ed.2d 351 (1992). Constitutional standing at the pleading stage is based on the

 pleadings, and not the merits. Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016)

 (Where, as here, a case is at the pleading stage, the plaintiff must “clearly ... allege

 facts demonstrating” each element” of standing) (citation omitted); see Maxim

 Crane Works, L.P. v. Zurich Am. Ins. Co., 11 F.4th 345, 350 (5th Cir. 2021) (similar).

 On the other hand, prudential standing focuses on capacity and requires that a party

 be a “real party in interest.”75

         (i)   HMIT Has Constitutional Standing


 75
   See BCC Merch. Sols., Inc. v. Jet Pay, LLC, 129 F. Supp. 3d 440, 447 (N.D. Tex. 2015), FED.
 R. CIV. P. RULE 17.

                                              23
Case 3:23-cv-02071-E         Document 29       Filed 01/22/24      Page 39 of 75        PageID 11544



           HMIT has constitutional standing because it has alleged, both directly and

 derivatively, an injury in fact —that is, an actual, real, imminent, concrete harm

 “fairly traceable to the defendant’s conduct and likely to be redressed by a favorable

 ruling.” 76 The bankruptcy court’s finding that the claimed injury is speculative,

 conjectural or hypothetical ignores the record and mischaracterized HMIT’s

 claims.77

           By holding that HMIT’s stated injury is “a devaluation of its unvested

 Contingent Claimant Trust Interest,”78 the bankruptcy court ignored the actual harm

 which the estate, Claimant Trust and HMIT suffered, and also ignored Delaware

 statutory law and caselaw and HMIT’s request for declaration that it was “vested.”

 HMIT suffered actual harm by a diminution of value of HMIT’s interest in the

 Claimant Trust.79 This was and is caused by allowing Seery, as Trustee, to receive

 excessive compensation.80

           Because HMIT is “in the money,” every dollar paid to Seery in excessive

 compensation is one dollar that will never flow (but should flow) to HMIT. No

 conjecture or speculation is required. No hypothetical scenario is presented. Rather,



 76
      Harold H. Huggins Realty, Inc. v. FNC, Inc., 634 F.3d 787, 795 (5th Cir. 2011),
 77
      ROA.003357-003363.
 78
      ROA.000904 (Emphasis added).
 79
      ROA.003362-67.
 80
      ROA.003335; ROA.003354; ROA.003358-59; ROA.001855.

                                                  24
Case 3:23-cv-02071-E      Document 29       Filed 01/22/24      Page 40 of 75      PageID 11545



 HMIT suffered and continues to suffer actual, real and imminent harm as a result of

 the conspiracy at issue—the Outside Purchasers received a windfall by exploiting

 MNPI, and Seery is handsomely rewarded to the detriment of HMIT and the

 Claimant Trust. 81 The same is true for the Claimant Trust.

          To avoid the impact of this nexus (i.e. the traceability of harm to wrongful

 conduct), the Order Denying Leave devotes significant energy (and twelve pages) to

 a discussion of the claims trading process as being beyond the purview of the

 bankruptcy court, and that there are “no rules of the road.”82 Therefore, according to

 the bankruptcy court, there can be no traceable harm. 83

          But this analysis is irrelevant because it does not account for the allegations

 of the collusive quid-pro-quo between Seery and the Outside Purchasers in awarding

 excessive compensation to Seery. The latter constitutes real, actual, and imminent

 damage to the Claimant Trust and to HMIT. Whether claims trading is or is not

 within the purview of the bankruptcy court is not the issue.

          The bankruptcy court also seeks to justify its holding concerning



 81
    ROA.003335;       ROA.003354;      ROA.003358-59;      ROA.001890-91,      ROA.1908-1909;
 ROA.009708-09.
 82
      ROA.000885.
 83
    The Order Denying Leave states at page 101, that if HMIT wanted “reconsideration” of the
 allowed claims it was required to do so within one year But, HMIT is not challenging the
 underlying settlement of the claims as approved by the bankruptcy court. Rather, HMIT seeks
 redress because of a collusive bargain between the Outside Purchasers and Seery unrelated to the
 approvals.

                                               25
Case 3:23-cv-02071-E      Document 29     Filed 01/22/24   Page 41 of 75   PageID 11546



 constitutional standing by arguing that Seery’s excessive compensation “stems from

 a court-sanctioned and creditor approved process for approving compensation.”84

 But this “finding” confounds HMIT’s allegations—the proposed claims do not

 attack the Court’s earlier process or approvals; rather, the proposed claims arise out

 of a tortious abuse of that process—an abuse that occurred outside of the bankruptcy

 court.85

          Lastly, the Order Denying Leave seeks to minimize HMIT’s claims

 concerning Seery’s excessive compensation by characterizing the allegations as

 speculative. But HMIT’s proposed pleadings set forth well-pleaded factual

 allegations, which, contrary to the Bankruptcy Court’s statement, were not

 “threadbare” recitals, 86 but included the “who, what and when” of the claims. 87

 Evidence at the June 8 Hearing also supported actual harm regarding Seery’s

 compensation, including:

             • Seery admitted he had done no market study to support the
               reasonableness of his Post-Effective Date compensation as
               Trustee; 88

             • Seery testified he was unaware whether the Outside Purchasers
               (who controlled the Oversight Board and his financial package)
               had undertaken any market studies to support his compensation
 84
      ROA.000905.
 85
      See ROA.003335; ROA.009708-09.
 86
      ROA.000926.
 87
      ROA.003349-54 (“who”); ROA.003348-50 (“when”); ROA.003349-54 (“what”).
 88
      ROA.009711.

                                            26
Case 3:23-cv-02071-E        Document 29       Filed 01/22/24       Page 42 of 75      PageID 11547



                  as Trustee;89

              • Seery’s compensation as Trustee was supposed to be reduced in
                2022, but then never happened.90

              • There is no evidence to justify Seery’s ongoing compensation as
                Trustee despite, admittedly, the Trustee’s tasks are
                diminishing.91

 Moreover, although HMIT’s Experts were prepared to offer opinions that Seery’s

 compensation was excessive, the bankruptcy court struck their opinions as

 “unhelpful,” and then struck a proffer of their opinions.92 So, on the one hand, the

 bankruptcy court ignored appropriate pleading standards of review, opting instead

 to consider evidence, and then severely limited or struck HMIT’s evidence. To be

 clear, HMIT plausibly alleged a collusive quid quo pro by which Seery was assured

 undeserved compensation, which includes annual Base Compensation of $1.8

 million and bonuses up to $8 million.93 HMIT’s pleadings were more than sufficient

 to support constitutional standing at this stage of the case. So was the evidence.

           (ii)   Constitutional Standing and Prudential Standing are Supported by

 89
      ROA.009711
 90
      ROA.009708-9709.
 91
    The bankruptcy court held Seery’s compensation could not be excessive because “HMIT
 testified…it had no personal knowledge” of Seery actual compensation when HMIT filed its
 Motion for Leave. ROA.000904. But this misstates the appropriate burden at a pleading stage.
 HMIT is entitled to plead on “information and belief,” which is the proper in the Fifth Circuit. See
 League of United Latin Am. Citizens v. Abbott, 604 F. Supp 463, 496-97 (W.D. Tex. 2022) (citing
 Johnson v. Johnson, 385 F.3d 503, 531 n.19 (5th Cir. 2004).
 92
      ROA.006609-11, ROA.009944-010012.
 93
      ROA.003354; ROA.007551-56, ROA.009709.

                                                 27
Case 3:23-cv-02071-E       Document 29   Filed 01/22/24   Page 43 of 75    PageID 11548



                HMIT’s “in the money” Status

          HMIT’s constitutional and prudential standing is also confirmed by recent

 financial disclosures described in HMIT’s Motion to Alter. 94 As shown in that

 motion, HMIT is “in the money.” As such, there is no reasonable argument that

 HMIT’s claims are speculative, conjectural or hypothetical. Rather, by being “in the

 money,” every dollar lost due to Seery’s collusion is a dollar lost to the Claimant

 Trust and HMIT.

          Despite recognizing that these financial disclosures were “not materially

 different” to disclosures when HMIT filed its Motion for Leave95 (thus HMIT was

 “in the money” much earlier), the bankruptcy court disregarded simple mathematical

 truisms and stretched to support its holding by discussing “supplemental notes”

 which included undisclosed, indefinite “administrative expenses and legal fees” –

 most of which are being incurred by the Litigation Trustee in a lawsuit against

 HMIT, among others. However, there is no evidence quantifying the amount of these

 potential and speculative fees, nor is there any evidence these fees cannot be paid

 before the Class 8 and Class 9 beneficiaries are fully paid.

          Seery’s duties under the CTA also have not been fulfilled, and these breaches

 further support standing. Seery is obligated to: (a) pay the remaining Class 8 and 9


 94
      ROA.010062-010128.
 95
      ROA.001046-47.

                                            28
Case 3:23-cv-02071-E        Document 29        Filed 01/22/24      Page 44 of 75       PageID 11549



 claims in full, (b) file the beneficiary certification, (c) vest the Class 10 and 11 Equity

 Interests, 96 and (d) “not unduly prolong the duration of the Claimant Trust.”97 Thus,

 not only has HMIT demonstrated that it is “in the money,” even accepting the Court’s

 reasoning that there is potentially other, non-specific, undisclosed financial

 information, HMIT has standing to pursue its current claims and is also entitled to

 seek declaratory relief concerning the “vesting” of its interests under the CTA.

         (iii) Prudential Standing Exists Under Delaware Law

        Here, HMIT is a “real party in interest,” and enjoys prudential standing to

 bring its claims (both individually and derivatively) because it is a “beneficial

 owner” in the Claimant Trust. DEL. CODE. ANN. tit. 12, § 3816. Here, HMIT was and

 remains a beneficial owner because it is a contingent beneficiary under Delaware

 law and also should be deemed “vested.”. 98 HMIT also had prudential standing to

 bring the proposed claims derivatively under Delaware law. 99



 96
    See ROA.7369-70, ROA.007392-95.
 97
    See ROA.007377-81.
 98
    ROA.007393. See Estate of Cornell v. Johnson, 367 P.3d 173, 178 (Idaho 2016) (“[V]esting
 cannot be postponed by unreasonable delay in distributing an estate and [] when there is such
 delay, contingent interests vest at the time distribution should have been made.” (emphasis
 added)).
 99
    See RESTATEMENT (SECOND) OF TRUSTS Sec. 199; Scanlon v. Eisenberg, 2012 WL 169765 (7th
 Cir. Jan. 20, 2012); Mayfield v. Peek, 446 S.W.3d 253 (Tex. App.—El Paso 2017, no pet.); Siefert
 v. Leonhardt, 975 S.W.2d 489, 492–93 (Mo. Ct. App. 1998) (holders of contingent interest in trust
 have standing to bring suit against trustee); Smith v. Bank of Clearwater, 479 So. 2d 755 (Fla. Dist.
 Ct. App. 1985) (contingent beneficiary was entitled to bring suit against trustee for alleged
 mismanagement of trust); Giagnorio v. Emmett C. Torkelson Tr., 292 Ill. App. 3d 318, 686 N.E.2d
 42 (1997) (contingent beneficiary had standing to bring action for breach of fiduciary duty).

                                                  29
Case 3:23-cv-02071-E     Document 29    Filed 01/22/24   Page 45 of 75   PageID 11550



          Under Delaware law, even if HMIT’s interest in the Claimant Trust is deemed

 “contingent,” HMIT is an intended beneficiary of the Claimant Trust, and HMIT

 enjoyed this status when it filed its Motion for Leave, and enjoys this status today.

 HMIT also has separate standing to bring derivative claims because it is a beneficial

 owner of the Claimant Trust. DEL. CODE ANN. Tit. 12, § 3816.

          The bankruptcy court’s holding that HMIT failed to satisfy a “continuous

 ownership requirement” is likewise misplaced. 100 HMIT held a continuous

 ownership interest at the time of all relevant transactions. HMIT had an ownership

 interest before and after the Effective Date; the type of interest merely

 changed.101 Prior to the Effective Date, HMIT held a limited partnership interest;

 after the Effective Date, that interest was exchanged for a beneficial ownership

 interest under the CTA. Id.. The bankruptcy court cited no authority holding that a

 plaintiff fails the “continuous ownership requirement” when, in fact, it remains a

 continuous interest owner, as here. Regardless, HMIT also is suing for “transactions”

 that occurred post-Effective Date—i.e., Seery’s revised and excessive compensation

 awards—during which HMIT’s post-Effective Date beneficial interest existed from

 start to finish.

          Under Delaware law, a “beneficial owner” means “any owner of a beneficial


 100
       ROA.000910.
 101
       ROA.000870-72. See ROA.003339, ROA003342.

                                           30
Case 3:23-cv-02071-E       Document 29        Filed 01/22/24      Page 46 of 75      PageID 11551



 interest in a statutory trust . . ..” DEL. CODE. ANN. Tit. 12, § 3801 (emphasis added).

 A “beneficial interest” is the “profit, benefit, or advantage resulting from a contract.”

 Mangano v. Pericor Therapeutics, No. CIV.A. 3777-VCN, 2009 WL 4345149, at

 *5 (Del. Ch. Dec. 1, 2009). In evaluating beneficial interests relating to derivative

 standing, Delaware courts recognize that the statute “use[s] … the general term

 beneficiary, without any language restricting the class of beneficiary to whom it

 refers…” Est. of Tigani, No. CV 7339-ML, 2016 WL 593169, at *14 (Del. Ch. Feb.

 12, 2016).

        Although the Delaware Code does not define “beneficiary,” Delaware courts

 follow the RESTATEMENT (THIRD) OF TRUSTS, 102 which defines beneficiaries as both

 “vested and contingent beneficiaries.” 103 Moreover, when interpreting undefined

 statutory terms, Delaware law requires that such terms be given “reasonable and

 sensible meaning in light of their intent and purpose.” Angstadt v. Red Clay Consol.

 Sch. Dist., 4 A.3d 382, 390 (Del. 2010). When doing so, Delaware courts

 traditionally rely on dictionaries. See id.

        Here, Black’s Law Dictionary defines “beneficiary” to include, “[s]omeone

 who is designated to receive the advantages from an action or change . . . or to



 102
     See, e.g., In re Tr. Under Will of Flint for the Benefit of Shadek, 118 A.3d 182, 195 (Del. Ch.
 2015); Tigani v. Tigani, No. CV 2017-0786-KSJM, 2021 WL 1197576, at *14 (Del. Ch. Mar. 30,
 2021), aff’d, 271 A.3d 741 (Del. 2022).
 103
     RESTATEMENT (THIRD) OF TRUSTS, § 48 cmt. a (2003) (emphasis added).

                                                 31
Case 3:23-cv-02071-E         Document 29         Filed 01/22/24   Page 47 of 75   PageID 11552



 receive something as a result of a legal arrangement or instrument” and includes

 both “contingent benficiar[ies]” and “direct benficiar[ies].”104 By contrast, Black’s

 Law Dictionary distinguishes “incidental beneficiary” as a “third-party beneficiary,

 who, though benefiting indirectly, is not intended to benefit from a contract and thus

 does not acquire rights under the contract.”105 Here, there should be no doubt HMIT

 is an intended beneficiary due to its place in the distribution waterfall.

           In light of the RESTATEMENT and Black’s Law Dictionary, the only reasonable

 interpretation of the word “beneficiary,” as used in Section 3327 of the Delaware

 Code, includes contingent beneficiaries. As the Delaware Supreme Court explained,

 a court “may not engraft upon a statute language which has been clearly excluded

 therefrom by the Legislature.” Giuiricich v. Emtrol Corp., 449 A.2d 232, 238 (Del.

 1982) (citing Wilmington Trust Co. v. Barry, 338 A.2d 575, 578 (Del Super. Ct.

 1975), aff’d, 359 A.2d 664 (Del. 1976)). But, the bankruptcy court erred when it did

 just that. See Estate of Tigani, No. CV 7339-ML, 2016 WL 593169, at *14 (Del. Ch.

 Feb. 12, 2016); Estate of Necastro, No. C.A. 10,538, 1991 WL 29958, at *1 (Del.

 Ch. Feb. 28, 1991) (rejecting a “restrictive reading” of “beneficiary” under 12 DEL.

 CODE. § 2302(d) and instead holding that “contingent beneficiaries” have standing.)

           HMIT’s proposed claims include willful misconduct that occurred while



 104
       Black’s Law Dictionary (11th ed. 2019).
 105
       Id.

                                                   32
Case 3:23-cv-02071-E      Document 29       Filed 01/22/24      Page 48 of 75      PageID 11553



 Seery owed fiduciary duties to the Debtor, and continued to owe duties as Trustee

 of the Claimant Trust. 106 Pursuant to the Plan, the estate’s causes of action against

 Seery were assigned to the Claimant Trust. 107 Therefore, the Plan does not impede

 HMIT’s standing to bring its derivative claims but specifically allows such claims

 on behalf of the Claimant Trust. To the extent these claims accrued post-Effective

 Date, then the Claimant Trust owns those claims and HMIT is a beneficial owner

 under the Claimant Trust. Thus, HMIT has both derivative and prudential

 standing. 108

         (iv) HMIT Also Has a Direct Claim

        The bankruptcy court incorrectly held that HMIT had no prudential standing

  to assert a direct claim because HMIT’s alleged harm “comes about only because

  the harm to the Debtor,” so the alleged “injury is derivative.” But, HMIT does have

  viable claims.

        The bankruptcy court relied on authority addressing a creditor or

  shareholder’s right to bring direct and derivative claims against third

 106
     See Rende v. Rende, No. 2021-0734-SEM, 2023 WL 2180572, at *11 (Del. Ch. Feb. 23, 2023)
 (Delaware trustee owes fiduciary duties); See In re Xtreme Power Inc., 563 B.R. 614, 632-33
 (Bankr. W.D. Tex. 2016) (fiduciary duties owed by corporate officers and directors under
 Delaware law); Louisiana World Exposition v. Fed. Ins. Co., 858 F.2d 233, 245-46 (5th Cir. 1988)
 (duties owed by debtors-in-possession) (“LWE”).
 107
     ROA.007369, 001708, 001733-34, 001760-1761. See generally, ROA.001660.
 108
    The bankruptcy court’s statements, at ROA.000916, regarding purported “checks and balances”
 under the CTA are inapposite because of massive conflicts; it ignores that the Proposed Claims
 are against the Outside Purchasers, who control the Oversight Board under the CTA, and the
 Litigation Sub-Trustee continues to pursue litigation against HMIT.

                                               33
Case 3:23-cv-02071-E      Document 29      Filed 01/22/24   Page 49 of 75    PageID 11554



  parties.109 But here, HMIT—who holds a beneficial interest—is asserting claims

  against the trustee of a trust for harms the trustee inflicted specifically upon

  HMIT. Under established law, a beneficial interest owner has standing and a right

  to assert individual claims against a trustee for misconduct and mismanagement, as

  HMIT pleaded. RESTATEMENT (SECOND) OF TRUSTS SEC. 199; see, e.g., Scanlan v.

  Eisenberg, 669 F.3d 838, 843 (7th Cir. 2012).

          The bankruptcy court also held that HMIT would not have standing under

  Louisiana World (“LWE”). 110 But HMIT relied on LWE for the colorability

  standard and the duties owed to HMIT. Regardless, LWE supports that standing or

  capacity to sue is derived from state law, and HMIT has demonstrated its standing

  to bring the proposed action individually and derivatively under Delaware law.

           (v)   Seery’s Duties under Delaware Law

          The trustee of a Delaware statutory trust has duties of loyalty, good faith, and

 due care. See DEL. CODE ANN. Tit. 12, § 3809; Rende v. Rende, No. 2021-0734-

 SEM, 2023 WL 2180572, at *11 (Del. Ch. Feb. 23, 2023). Delaware law also

 prohibits any disclaimer of the duty of good faith and fair dealing. See In re National

 Collegiate Student Loan Trusts Litigation, 251 A.3d 116, 185-86 (Del. Ch. 2020) (“

 . . . the DSTA forbids parties from eliminating the “implied contractual covenant of


 109
       ROA.000927.
 110
       ROA.000908-09.

                                             34
Case 3:23-cv-02071-E      Document 29      Filed 01/22/24   Page 50 of 75    PageID 11555



 good faith and fair dealing.”) (citing DEL. CODE. ANN. Tit. 12, § 3806).

          Here, Seery’s duties of good faith and fair dealing are relevant because the

 Proposed Defendants argue that HMIT’s status as a “beneficiary” under the CTA is

 conditional upon Seery’s affirmative act of filing a certification declaring HMIT

 “vested.” Although this makes Seery the proverbial “fox guarding the hen house,”

 Delaware law is clear: “[s]tated in its most general terms, the implied covenant

 requires a party in a contractual relationship to refrain from arbitrary or unreasonable

 conduct which has the effect of preventing the other party to the contract from

 receiving the fruits of the bargain.” Dunlap v. State Farm Fire and Cas. Co., 878

 A.2d 434, 442 (Del. 2005) (internal quotations omitted).

          Seery’s refusal to perform a simple ministerial task to “vest” Class 10 warrants

 treating HMIT as fully vested, and this is precisely what HMIT’s request for

 declaratory relief sought. 111 “[V]esting cannot be postponed by unreasonable delay

 in distributing an estate and [] when there is such delay, contingent interests vest at

 the time distribution should have been made.” Estate of Cornell v. Johnson, 367

 P.3d 173, 178 (Idaho 2016) (emphasis added) (discussed in RESTATEMENT (SECOND)

 OF TRUSTS § 198 (1959)); see also Edwards v. Gillis, 146 Cal.Rptr.3d 256, 263 (Cal.

 Ct. App. 4 Dist., 2012). But the bankruptcy court mischaracterized the declaratory

 judgment action and committed reversible error when it did so. HMIT seeks

 111
       ROA.003362.

                                             35
Case 3:23-cv-02071-E         Document 29        Filed 01/22/24       Page 51 of 75       PageID 11556



 declaratory relief concerning, inter alia, its rights as a “vested” beneficiary under the

 Claimant Trust. This was one of many claims for declaratory relief which the

 bankruptcy court ignored. 112

           The Claimant Trust has had sufficient assets to pay unsecured creditors in

 Classes 8 and 9 in full with interest. 113 Indeed, according to the bankruptcy court,

 these resources existed even earlier and at least when HMIT filed its Motion for

 Leave.114 And, the CTA required Seery, as Trustee, to “make timely distributions

 and not unduly prolong the duration of the Claimant Trust.” 115

           The bankruptcy court’s reliance on In re Nat’l Coll. Student Loan Tr. Litig.,116

 is misplaced, 117 because that case did not involve contingent beneficial interests.

 Instead, it involved creditors seeking to assert a security interest against collateral

 owned by the trust - but that is not the same as having a contingent beneficial interest.

 Therefore, the bankruptcy court’s statement that it is “pure and simple” HMIT does


 112
    Declaratory judgment relief is proper when there is an actual controversy that has arisen and
 exists relating to the rights and duties of the parties. In re Coral Petroleum, Inc., 50 B.R. 830, 835-
 36 (Bk. S.D. Tex. 1985) (citing Allstate Insurance Co. v. Employers Liability Assurance
 Corp., 445 F.2d 1278, 1280 (5th Cir.1971).
 113
       ROA.010064-66, see ROA.010029, ROA.010035.
 114
       ROA.001046-47.
 115
       CTA, Dkt. 3521-5 at § 3.2(a). ROA.007377.
 116
       251 A.3d 116, 191 (Del. Ch. 2020).
 117
    Courts reject “the argument that an investor cannot be considered a beneficial owner of an
 equity security when the investor’s right to acquire the security is contingent upon a future event.”
 § 22:28. Beneficial ownership and convertible securities, 1F Going Public Corp. § 22:28
 (collecting cases).

                                                   36
Case 3:23-cv-02071-E         Document 29   Filed 01/22/24   Page 52 of 75   PageID 11557



 not have an interest under the CTA is wrong.

            (vi) HMIT Has Legally Redressable Remedies Which Supports Standing

           Contrary to the Order Denying Leave, constitutional standing is also

 supported by the redressable nature of the harm that HMIT and the Claimant Trust

 have suffered. HMIT’s proposed pleading asserts entitlement to equitable remedies,

 such as disgorgement and constructive trust, which are available to deter and rectify

 the type of willful misconduct alleged in HMIT’s Motion for Leave. The requested

 remedies also include equitable disallowance. 118 All of these remedies provide

 viable redress.

           In the Matter of Mobile Steel Co, 119 which is cited in the Order Denying

 Leave, the Fifth Circuit generally limited the court’s equitable powers to

 subordination rather than equitable disallowance but did not foreclose the viability

 of equitable disallowance in some circumstances. See 563 F.2d 692, 699 n. 10 (5th

 Cir. 1977). Furthermore, the U.S. Supreme Court’s decision in Pepper v. Litton

 empowers bankruptcy courts to fashion disallowance remedies. 308 U.S. 295, 304-

 11 (1939). Bankruptcy Code § 510 is “intended to codify case law, such as Pepper

 v. Litton . . . and is not intended to limit the court’s power in any way…. Nor does

 [it] preclude a bankruptcy court from completely disallowing a claim in appropriate


 118
       ROA.003360-61.
 119
       563 F.2d 692 (5th Cir. 1977).

                                             37
Case 3:23-cv-02071-E          Document 29   Filed 01/22/24   Page 53 of 75   PageID 11558



 circumstances.” In re Adelphia Commun. Corp., 365 B.R. 24, 71-72 (Bankr.

 S.D.N.Y. 2007), aff'd in part sub nom. Adelphia Recovery Tr. v. Bank of Am., N.A.,

 390 B.R. 64 (S.D.N.Y. 2008), adhered to on reconsideration, 05 CIV. 9050 (LMM),

 2008 WL 1959542 (S.D.N.Y. May 5, 2008) (emphasis and omissions in original).

           The Fifth Circuit’s decision in Mobile Steel was premised on the notion that

 equitable disallowance was not necessary because creditors typically “are fully

 protected by subordination” and “[i]f the misconduct directed against the bankrupt

 is so extreme that disallowance might appear to be warranted, then surely the claim

 is either invalid or the bankrupt possesses a clear defense against it.” Mobile Steel,

 563 F.2d at 699 n. 10 (emphasis added). However, the facts in Mobile Steel are not

 present here.

           The Outside Purchasers effectively occupy more than 94% of Class 8

 claims.120 Thus, subordination makes no sense because it would effectively require

 the Outside Purchasers to subordinate to themselves, and this would never

 effectively address their wrongful conduct. They would still profit from their

 wrongdoing.

           In addition to equitable disallowance, HMIT also alleges disgorgement and

 seeks a constructive trust, both of which are viable forms of redress. 121 The


 120
       ROA.003356.
 121
       Infra at Section XI.A.iv.

                                              38
Case 3:23-cv-02071-E       Document 29       Filed 01/22/24      Page 54 of 75      PageID 11559



 bankruptcy court erred when holding that unjust enrichment is not an independent

 cause of action under Texas law,122 and in doing so directly disregarded established

 Fifth Circuit authority. See, e.g., King v. Baylor Univ., 46 F.4th 344, 367 (5th Cir.

 2022). The same is true under Delaware law. See Garfield on behalf of ODP Corp.

 v. Allen, 277 A.3d 296 (Del. Ch. 2022). Also, contrary to the bankruptcy court’s

 statements,123 Seery’s compensation is fixed by his allies on the Oversight Board

 and the amount, i.e., the excessiveness of Seery’s compensation, is not limited by an

 express contract, precluding unjust enrichment as a viable remedy. Simply put, there

 is no express contract at issue here. The same is true under Delaware law. 124

          Here, disgorgement is an appropriate remedy for breach of fiduciary duty

 under both Texas law 125 and Delaware law.126 Disgorgement is also an appropriate

 remedy for unjust enrichment under Texas law and under Delaware law.127 Lastly,

 disgorgement is an appropriate remedy for aiding and abetting a breach of fiduciary




 122
       ROA.000936.
 123
       ROA.000936.
 124
     See Prospect Street Energy v. Bhargava, 2016 WL 446202 at *8 (Del. S. Ct. January 27, 2016)
 (undisclosed kickback agreement was not claim subject to separate contract between parties).
 125
     See Kobach Tool Co. v. Corbett-Wallace Corporation, 160 S.W. 2d 509 (Tex. 1942).
 126
     See Metro Storage International, LLC v. Herron, 275 A.3d 810 (Del. Ch. 2022); see also In re:
 Mobilactive Media, LLC, 2013 WL297950 at 24 (Dec. Ch. Jan. 25, 2013), Prospect Street Energy
 v. Bhargava, 2016 WL 446202 at *8 (Del. S. Ct. January 27, 2016) (disgorgement, constructive
 trust and unjust enrichment available under Delaware law); .
 127
     Hunter v. Shell Oil Co., 198 F.2d 485 (5th Cir. 1952).

                                                39
Case 3:23-cv-02071-E        Document 29   Filed 01/22/24   Page 55 of 75   PageID 11560



 duty, which is precisely what has been asserted against the Outsider Purchasers.128

          Lastly, HMIT properly alleged punitive damages which, contrary to the Order

 Denying Leave,129 are recoverable as alleged in this case under Delaware law. See

 Niehoff v. Maynard, 299 F.3d 41 (1st Cirt. 2002).

 B.       The Bankruptcy Court’s Application of a Heightened “Hybrid”
          Barton Analysis was Erroneous

          The bankruptcy court applied an erroneous standard for defining a “colorable”

 claim. In effect, the bankruptcy court fashioned an incorrect standard for “this

 bankruptcy case” that forced HMIT to present prima facie evidence on the merits

 of its claims – while concurrently depriving HMIT of basic discovery that due

 process required under the evidentiary scenario ordered by the bankruptcy court.

          1.     The Gatekeeping Provision Does Not Support a Heightened
                 Barton Standard
          The bankruptcy court committed reversible error when it fabricated a one-off

 standard to determine “colorability”—which it described as “an additional level of

 review,” for “this bankruptcy case” requiring HMIT to prove prima facie that its

 proposed claims are “not without foundation, are not without merit, and are not

 being pursued for any improper purpose such as harassment.” 130 The bankruptcy


 128
    See US Bank Assoc. v. Verizon Commun., Inc., 817 F.Supp. 934, 944 (N.D. Tex. 2011)
 (applying Delaware law). See also, ROA.003357-3367.
 129
       Order Denying Leave at 103.
 130
       ROA.000925.

                                            40
Case 3:23-cv-02071-E       Document 29       Filed 01/22/24      Page 56 of 75      PageID 11561



 court incorporated as part of this new standard the prima facie proof standard under

 the Barton doctrine. 131 But, Barton only applies when there is a claim in a non-

 appointing court that “requires a party to obtain leave from the appointing court

 before bringing suit against a court-appointed receiver.” See In re Provider Meds,

 LP, 514 B.R. 473, 475 (Bankr. N.D. Tex. 2014). 132

          To justify this newly-fabricated standard, the bankruptcy court relied on Silver

 v. City of San Antonio. 133 However, this reliance is misplaced because, unlike the

 plaintiff in Silver, HMIT is not and has never been deemed a vexatious litigant;

 HMIT fully complied with the bankruptcy court's Gatekeeping Provision; HMIT has

 not filed the same claims over and over.134 Thus, the bankruptcy court’s creation of

 an heightened standard was wholly inappropriate at this initial pleading stage.

          2.    The Bankruptcy Court’s Impermissible Extension of the
                Barton Doctrine




 131
       ROA.000925.
 132
    Here, the drafters also opted to use the “colorable” standard, not a Barton standard, and this
 choice must be construed as having a consequence. In re Phoenix Petroleum Co., 278 B.R. 385
 (Bankr. E.D. Pa. 2001); In re Deepwater Horizon, 732 F.3d 326, 342 (5th Cir. 2013).
 133
    Silver v. City of San Antonio, No. SA-19-MC-1490-JKP, 2020 WL 3803922, at *6 (W.D. Tex.
 July 7, 2020). See Order Denying Leave. ROA.000924.
 134
    The standard in the Silver matters are inapposite because the plaintiff was in forma pauperis
 (“IFP”), which the court stated is statutorily broader. Silver v. Perez, No. SA-20-MC-0655-JKP,
 2020 WL 3790489, at *4 (W.D. Tex. July 7, 2020)

                                                41
Case 3:23-cv-02071-E       Document 29       Filed 01/22/24      Page 57 of 75       PageID 11562



         The Barton Doctrine is limited to protect court-appointed trustees. 135 Neither

 the Carroll case nor any other Fifth Circuit case has applied the Barton doctrine to

 cloak corporate officers with judicial immunity and exculpate them from entire

 categories of claims if filed within the appointing court, i.e., the bankruptcy court.136

 In re Provider Meds, LP, 514 B.R. 473, 476 (N.D. Tex. 2014) (parties do not need

 leave of court to assert claims against trustees in bankruptcy court that appointed

 them)

         The Fifth Circuit also noted that the Barton doctrine is rooted in the “concern

 that if debtors could sue the trustee in a foreign jurisdiction, the foreign ‘court would

 have the practical power to turn bankruptcy losers into bankruptcy winners.’”

 Carroll, 788 F.3d at 506 (quoting In re Linton, 136 F.3d 544, 546 (7th Cir. 1998)).

 Here, however, HMIT sought leave to file the proposed claims in the same

 bankruptcy court that appointed the trustee—a circumstance in which this Court has

 held a Barton inquiry to be inappropriate. See In re Provider Meds, LP, 514 B.R.

 473, 476 (N.D. Tex. 2014).



 135
    See In re Vistacare Group, LLC, 678 F.3d 218, 234 (3d Cir. 2012) (citing In re Linton, 136
 F.3d 544, 546 (7th Cir. 1998); In re Beck Indus., Inc., 725 F.2d 880, 889 (2d Cir. 1984).
 136
     The cases relied upon by the bankruptcy court were in the distinct context of protecting a
 bankruptcy trustee in an action outside the bankruptcy court--facts which do not exist here, Even
 then, not all of those courts found that an evidentiary hearing was necessary. Vistacare, 678 F.3d
 at 233. Accord In re World Mktg. Chi., LLC, 584 B.R. 737, 743 (Bankr. N.D. Ill. 2018) Leighton
 Holdings, Ltd. v. Belofsky (In re Kids Creek Partners, L.P.), 2000 WL 1761020, at *2 (N.D. Ill.
 Nov. 30, 2000) (same).

                                                42
Case 3:23-cv-02071-E     Document 29     Filed 01/22/24   Page 58 of 75   PageID 11563



          Other policy arguments for expanding Barton are unavailing. The bankruptcy

 court’s articulated concern that none of the Independent Directors would have taken

 the role without a gatekeeper provision 137 does not justify a Barton standard. “[T]he

 Barton doctrine is grounded in the exclusive nature of in rem jurisdiction. The need

 to attract qualified individuals to serve as receivers and bankruptcy trustees might

 be a legitimate policy concern, but it has nothing to do with subject-matter

 jurisdiction.” Chua v. Ekonomou, 1 F.4th 948, 954 (11th Cir. 2021).

          3.    A “Colorable” Claim Need Only Have “Some Possible
                Validity”
          By imposing an elevated standard, the bankruptcy court ignored binding Fifth

 Circuit authority. Citing Richardson v. United States, 468 U.S. 317 (1984), the Fifth

 Circuit held that a “colorable” claim is one with “some possible validity.” In re

 Deepwater Horizon, 732 F.3d 326, 340 (5th Cir. 2013) (quoting Richardson, 468

 U.S. at 326 n. 6). In Deepwater Horizon, the Fifth Circuit made clear that whether a

 claim is colorable is based on allegations and not merits-based proof: “A plaintiff’s

 claim is colorable if he can allege standing and the elements necessary to state a

 claim on which relief can be granted—whether or not his claim is ultimately

 meritorious” Id. At 341 (emphasis in original).




 137
       ROA.000843.

                                           43
Case 3:23-cv-02071-E         Document 29       Filed 01/22/24     Page 59 of 75   PageID 11564



           Other courts also apply the “colorable” standard in the same manner as in

 Deepwater Horizon in a variety of contexts – without requiring an evidentiary

 hearing and instead relying on the four-corners of a proposed claim. See, e.g.,

 Richardson v. United States, 468 U.S. 317 (1984); Becker v. Noe, No. CV ELH-18-

 00931, 2019 WL 1415483, at *18 (D. Md. Mar. 27, 2019); Trippodo v. SP Plus

 Corp., No. 4:20-CV-04063, 2021 WL 2446204, at *3 (S.D. Tex. May 21, 2021),

 report and recommendation adopted, No. 4:20-CV-04063, 2021 WL 2446191 (S.D.

 Tex. June 15, 2021). Here, the bankruptcy court should not have required an

 evidentiary hearing to judge the “merits” or credibility of HMIT’s claims. See

 Louisiana World Exposition v. Fed. Ins. Co., 858 F.2d 233, 252-53 and n. 15 (5th

 Cir. 1988) (no evidentiary hearing was necessary to determine “colorability”).

 C.        HMIT Pled “Colorable” and Plausible Claims Under the Proper,
           Non-Evidentiary Standard

           HMIT alleged “colorable” claims with “some possible validity,” 138 and

 otherwise satisfied the plausibility standards under FED. R. CIV. P. 12(b)(6). See

 Smith v. Bank of Am., NA, 615 F.App’x 830, 833 (5th Cir. 2015). A Rule 12(b)(6)

 motion is appropriate if the plaintiff has not provided fair notice of its claim or

 factual allegations that — when accepted as true — are plausible and rise above mere

 speculation. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atl. Corp. v.



 138
       See In re Deepwater Horizon, 732 F.3d 326, 340 (5th Cir. 2013).

                                                 44
Case 3:23-cv-02071-E        Document 29        Filed 01/22/24      Page 60 of 75       PageID 11565



 Twombly, 550 U.S. 544, 555-56 & n.3 (2007). A claim has facial plausibility when

 the plaintiff pleads sufficient factual content that, when accepted as true, allows the

 court to draw the reasonable inference that the defendant is liable for the misconduct

 alleged. Iqbal, 129 S.Ct. at 1949. 139

          1.    HMIT’s Factual Averments are Well-Plead and are
                “Colorable” and Plausible.

          Although the bankruptcy court alternatively criticized HMIT’s factual

 allegations as “threadbare,” “conclusory,” “speculative,” “devoid of merit,” or

 include “unsubstantiated inferences,” 140 it is clear upon any fair review that the

 factual averments reveal substantial detail concerning that exchange of MNPI , the

 lack of due diligence, the collusive nature of the bargain to award Seery excessive

 compensation, and more. The factual averments supporting HMIT’s claims for

 breach of fiduciary duty against Seery are both plausible and “colorable.” The factual

 averments supporting the claims against the Outside Purchasers are equally plausible

 and “colorable.” The proposed pleadings provide fair notice of HMIT’s claims and,

 when accepted as true, rise far beyond mere speculation allowing the bankruptcy

 court the ability to infer liability.


 139
    All of the claims set forth in the proposed pleading: in Count I (breach of fiduciary duty), Count
 II (knowing participation in breach of fiduciary duties), Count III (conspiracy), Count IV
 (equitable disallowance), Count V (unjust enrichment and constructive trust), and Count VI
 (declaratory relief) are founded upon well pleaded allegations, which state plausible and colorable
 claims, which the bankruptcy court denied and committed reversible error when it did so.
 140
       ROA.00925-26.

                                                  45
Case 3:23-cv-02071-E        Document 29      Filed 01/22/24    Page 61 of 75     PageID 11566



          Under Count 1 of the proposed pleading, HMIT alleged breach of fiduciary

 duty against Seery. Under Count 2, HMIT alleged that the Outside Purchasers

 knowingly participated in (or aided and abetted) Seery’s breaches. HMIT also

 alleged conspiracy, unjust enrichment, constructive trust, disgorgement, and sought

 declaratory relief. 141 The proposed pleading accurately states the elements of each

 claim and each claim is factually supported. 142

          To bring a claim for fiduciary duty, Delaware law requires “a plaintiff must

 allege ‘(1) that a fiduciary duty existed and (2) that the defendant breached that

 duty.’” 143 To bring a claim for aiding and abetting a breach of fiduciary duty,

 Delaware law provides “the plaintiff must plead that: (1) a fiduciary relationship

 existed, (2) the fiduciary breached its duty, (3) the non-fiduciary defendant

 knowingly participated in that breach, and (4) damages to the plaintiff resulted from

 the concerted actions of the defendant and the fiduciary.” 144

          Here, HMIT pled that Seery, as CEO and CRO of a debtor-in-possession,

 owed fiduciary duties to the Debtor, the Debtor’s Estate and HMIT, as equity.145


 141
       ROA.003357-3367.
 142
       ROA.003357-67.
 143
    Brooks v. United Dev. Funding III, L.P., 2020 WL 6132230, at *30 (N.D. Tex. Apr. 15, 2020)
 (quoting Joseph C. Bamford & Young Min Ban v. Penfold, L.P., 2020 WL 967942, at *8 (Del. Ch.
 Feb. 28, 2020)).
 144
   Atl. NWI, LLC v. Carlyle Group Inc., No. 2021-0944-SG, 2022 WL 15800272, at *6 (Del. Ch.
 Oct. 28, 2022).
 145
       ROA.003338-41, 3357. The bankruptcy court quoted Gilbert v El Paso Co., 1988 WL 124325,


                                               46
Case 3:23-cv-02071-E       Document 29        Filed 01/22/24      Page 62 of 75      PageID 11567



 These duties included, without limitation, the duty of loyalty and the duty to avoid

 conflicts of interests. 146 Seery also owed fiduciary duties to act in the best interest of

 Debtor’s estate, and HMIT, to maximize the value of the Debtor’s Estate. See In re

 Johnson, 433 B.R. 626 (S.D. Tex. 2010) Cheng v. K & S Diversified Investments (In

 re Cheng), 308 B.R. 448, 455 (9th Cir. BAP 2004),’aff'd, 160 Fed.Appx. 644 (9th

 Cir.2005); Yellowhouse Machinery Co. v. Mack (In re Hughes), 704 F.2d 820, 822

 (5th Cir.1983). Following the Effective Date, Seery also owed fiduciary duties as

 the Trustee under Delaware law and under the terms of the CTA.147

          HMIT’s proposed pleadings set forth plausible factual allegations that Seery

 breached his fiduciary duties, including by: (a) falsely representing the value of the

 Debtor’s estate to be less than it actually was, 148 (b) disclosing MNPI to third-parties

 with the intent to place “allies” on the Oversight Board,149 (c) accepting excessive

 compensation from his business allies (the Outside Purchasers) on the Oversight



 at *9 (Del. Ch. Nov. 21, 1988) to hold Seery did not owe fiduciary duties but the bankruptcy court
 neglected to include other significant language from that case See Gilbert at *9. HMIT was not
 some ordinary stakeholder, HMIT was, ostensibly, the 99.5% stakeholder in the Debtor. See also,
 Eisenberg v. Chicago Milwaukee Corp., Del.Ch., 537 A.2d 1051, 1062 (1987).
 146
    See In re Xtreme Power Inc., 563 B.R. 614, 632-33 (Bankr. W.D. Tex. 2016); LWE, 858 F.2d
 233, 245-46 (5th Cir. 1988). The bankruptcy court’s assertion that “[u]pon confirmation of the
 Plan, the bankruptcy estate of Highland ceased to exist” is inapposite. ROA.00909. The duties still
 existed when they were breached, and those claims survive confirmation.
 147
     See Rende v. Rende, No. 2021-0734-SEM, 2023 WL 2180572, at *11 (Del. Ch. Feb. 23, 2023);
 see also, In re Xtreme Power Inc., 563 B.R. 614, 632-33 (Bankr. W.D. Tex. 2016); LWE, 858 F.2d
 233, 245-46 (5th Cir. 1988).
 148
     ROA.003354; ROA.003348-54; ROA.010062-10134.
 149
       ROA.003354; ROA.003348-54; ROA.010062-10134.

                                                 47
Case 3:23-cv-02071-E      Document 29    Filed 01/22/24   Page 63 of 75    PageID 11568



 Board, 150 and (d) de-valuing the estate and the Claimant Trust due to his financial

 self-interest and excessive compensation.151

          The proposed pleading also sets forth plausible factual allegations that the

 Outside Purchasers knowingly participated in the breaches of Seery’s fiduciary

 duties and knowingly traded on MNPI. The Outside Purchasers were sophisticated

 hedge funds who held fiduciary positions vis-vis their own investors and they were

 no strangers to fiduciary relationships.152 And, at least circumstantially, the Outside

 Purchasers’ multimillion-dollar investments made no rational economic sense unless

 MNPI was improperly exploited.

          The proposed pleadings also set forth factual averments, which taken as true,

 plausibly reflect Farallon’s admissions that it relied upon Seery, did no due

 diligence, and expected huge profits when publicly available information suggested

 otherwise.153 Lastly, the proposed pleading sets forth plausible factual allegations

 that the Outside Purchasers and Seery undertook their collusive conduct in secret.

 Indeed, shell entities were created to acquire the Disputed Claims to conceal Farallon

 and Stonehill’s involvement. This is a red flag characteristic of a conspiracy.

          These allegations satisfy a 12(b)(6) standard because they were more than


 150
       ROA.003354; ROA.003348-54; ROA.010062-10134.
 151
       ROA.003357.
 152
       ROA.003334.
 153
       ROA.003347-54

                                            48
Case 3:23-cv-02071-E    Document 29      Filed 01/22/24    Page 64 of 75    PageID 11569



 “speculation” and provided concrete averments from which liability can be

 reasonably inferred. The evidence presented at the June 8 Hearing supported these

 pleadings.

 D.    Alternatively, if the Bankruptcy Court Correctly Determined that Its
       “Hybrid” Barton Analysis Controls, the Bankruptcy Court Abused Its
       Discretion When It Denied HMIT’s Requested Discovery and
       Continuance

       The bankruptcy court’s errors were compounded when it denied HMIT’s

 requested discovery or a continuance to conduct proper discovery. Forcing a party

 to present evidence on the merits of a case, while depriving that party from

 undertaking discovery to present evidence on the merits, violates due process.

 Indeed, in any proceedings where a court is making factual determinations, the court

 must give the plaintiff an opportunity for discovery. See McAllister v. FDIC, 87 F.3d

 762, 766 (5th Cir. 1996). A “blanket denial of discovery is an abuse of discretion

 if discovery is ‘indispensable to a fair, rounded, development of the material

 facts.’” Wiwa v. Royal Dutch Petroleum Co., 392 F.3d 812, 818 n.35 (5th Cir. 2004)

 (citation omitted).

       Although courts have certain discretion regarding what discovery will be

 allowed, this discretion is not unlimited. Id. The Fifth Circuit has held that in early-

 pleading proceedings it “is "reversible error” and “an abuse of discretion” to deny a

 plaintiff discovery related to issues before the court or a continuance to obtain that

 discovery. See, e.g., McAllister v. FDIC, 87 F.3d 762, 766 (5th Cir. 1996). Here, the
                                           49
Case 3:23-cv-02071-E      Document 29     Filed 01/22/24    Page 65 of 75   PageID 11570



 bankruptcy court’s discretion did not permit a denial of discovery when discovery

 could “verify allegations of specific facts.” Box v. Dallas Mexican Consulate Gen.,

 487 Fed. Appx. 880, 884–85 (5th Cir. 2012).

          Here, the bankruptcy court prevented HMIT from conducting relevant

 document discovery of any kind.154 Instead, the bankruptcy court allowed Seery to

 “cherry pick” information that might help him, and then withhold and redact

 information that would not. Moreover, the bankruptcy court prevented HMIT from

 obtaining any discovery from Farallon and Stonehill. 155 These rulings amount to

 reversible error.

 E.       Alternatively, HMIT’s Claims are “Colorable” Under the
          Heightened Standard Applied by the Bankruptcy Court

          The bankruptcy court conducted an evidentiary hearing over HMIT’s

 objections, but the details of the bankruptcy court’s ultimate standard of review were

 never articulated before the Order Denying Leave. This failure kept HMIT in the

 dark depriving HMIT of due process.

          Even then, HMIT’s evidence at the June 8 hearing was substantial and

 demonstrated, without limitation, the following:

               Farallon rejected a significant premium over its multimillion-
                dollar investment because Seery assured Farallon that the
 154
    By way of example, HMIT requested discovery concerning communications between Seery
 and the Outside Purchasers, documents relating to due diligence, claim evaluations, etc.
 ROA.4836-4914.
 155
       See generally, ROA.004836; ROA.004959; ROA.009912.

                                             50
Case 3:23-cv-02071-E      Document 29     Filed 01/22/24   Page 66 of 75   PageID 11571



                 Disputed Claims had more value; 156

               Farallon conducted no due diligence and Seery admitted in
                testimony that there was no due diligence data room;157

               Farallon was “optimistic” about MGM; 158

               The Debtor’s disclosures that were publicly available to the
                Outside Purchasers did not economically justify the magnitude
                of their investment;

               The Debtor’s financial disclosures suggested that the claim
                purchasers would receive less than par value; Stonehill rejected
                an opportunity to provide DIP financing at an even higher rate
                of return, strongly suggesting that Stonehill had expectations of
                large windfall from the Disputed Claims purchase;159

               Muck and Jessup were shell entities created immediately before
                the acquisition of the Disputed Claims; further evidencing
                Farallon and Stonehill’s motivation to conceal their
                involvement;160

               Seery admitted he had done no market study to support the
                reasonableness of his compensation as Trustee; 161

               Seery testified he had no knowledge whether the Outside
                Purchasers (who controlled the Oversight Board and his
                financial package) had undertaken any studies to support his
                Trustee compensation; 162


 156
       ROA. 006693-95; ROA.009589-96.
 157
       ROA.009696-97.
 158
       ROA.009596.
 159
       ROA.009698-99.
 160
       ROA.008578-81; ROA.009591.
 161
       ROA.009711.
 162
       ROA.009711

                                            51
Case 3:23-cv-02071-E      Document 29    Filed 01/22/24   Page 67 of 75    PageID 11572



               Seery’s compensation as Trustee was supposed to be reduced in
                2022, but that never happened.163

 Even under the Barton Doctrine, this evidence presents more than a prima facie case

 that the Proposed Defendants are liable for their wrongdoing. Their evidence also

 supports the factual averments in the proposed pleading that Seery breached his

 fiduciary duties, and that the Outside Purchasers knowingly participated in this

 breach and otherwise engaged in a conspiracy that harmed the Claimant Trust and

 other innocent stakeholders, including HMIT.

 F.       The Bankruptcy Court Erred When it Imposed a New
          “Colorability” Standard on Claims Asserted by a Non-Debtor
          Against Non-Debtors Under Stern v. Marshall, and is progeny.

         Bankruptcy courts are courts of limited jurisdiction. In re Paso Del Norte Oil

 Co., 755 F.2d 421, 423–24 (5th Cir. 1985). In Stern v. Marshall, the Supreme Court

 held that Article III of the Constitution prevents bankruptcy courts from entering

 final judgment on claims that derive from state law and do not invoke substantive

 rights provided by title 11. Stern v. Marshall, 564 U.S. 462 (2011). HMIT’s claims

 for breach of fiduciary duty, aiding and abetting, conspiracy, and unjust enrichment

 are such claims. See In re Allied Sys. Holdings, Inc., 524 B.R. 598 (Bankr. D. Del.

 2015). That a case may result in augmenting the estate’s resources does not convert

 it to a core proceeding that the bankruptcy court may finally resolve. In re BP RE,



 163
       ROA.009708-9709.

                                            52
Case 3:23-cv-02071-E    Document 29      Filed 01/22/24    Page 68 of 75    PageID 11573



 L.P., 735 F.3d 279, 291 (5th Cir. 2013). Rather, bankruptcy courts lack constitutional

 authority to enter final orders or judgments in non-core claims as well as in a subclass

 of statutorily core claims, which have come to be known as "Stern claims." See Exec.

 Benefits Ins. Agency v. Arkison, 573 U.S. 25, 31 (2014).

      Subsequent to Stern, the Supreme Court determined that a bankruptcy court

 may decide a “Stern claim” only if all parties consent to entry of a final judgment.

 Wellness Int'l. Network, Ltd. v. Sharif, 135 S.Ct. 1932 (2015), which has not occurred

 here. Here, the bankruptcy court's unfounded interpretation of the Gatekeeping

 Provision—i.e. the newly crafted standard for “an additional level of review”—

 converts what should be an issue of law, subject to de novo review, into a trial

 exercise. This impermissibly transforms the bankruptcy court into the trier of fact in

 contravention of Stern.

 G.    Alternatively, if the Bankruptcy Court Correctly Determined that
       Its “Hybrid” Barton Analysis Controls, the Bankruptcy Court
       Erroneously Excluded Appellant’s Expert Testimony And Struck
       Appellant’s Proffer

       The bankruptcy court abused its discretion by excluding timely designated

 expert testimony. When HMIT tried to make a record for appeal, the bankruptcy

 court denied that as well. In the event this Court determines that the bankruptcy

 court’s elevated standard was appropriate, then this exclusion was an abuse of

 discretion and reversible error.

       1.     HMIT’s Experts were designated timely.
                                           53
Case 3:23-cv-02071-E      Document 29     Filed 01/22/24   Page 69 of 75   PageID 11574



          The disclosure of HMIT’s experts exceeded procedural requirements. 164

 Bankruptcy Rule of Procedure 9014 governs this contested matter, and specifically

 excludes Rule 26(a)(2)(b) requirements regarding expert witness disclosures and

 reports. See BANK. R. PROC. 9014.

          Here, the bankruptcy court limited pre-hearing discovery before the June 8,

 2023 Hearing—not the evidence that could be submitted. Nothing in the bankruptcy

 court’s pre-hearing orders limited any party’s right to call other witnesses, including

 expert witnesses. 165 Thus, HMIT’s designation of expert witnesses was timely

 pursuant to the Bankruptcy Rules – three days before the hearing as part of the

 exchange of witness lists.166 Although the bankruptcy court’s order striking HMIT’s

 expert evidence states that HMIT’s expert evidence was not “appropriately and

 timely disclosed” and was “too late,” the bankruptcy court does not cite any rule or

 order with which HMIT did not comply.167

          2.    Insufficient Record to Exclude Experts
          Under Fifth Circuit precedent, the bankruptcy court was required to perform

 a Daubert inquiry and “articulate its basis” for excluding expert testimony.

 Rodriguez v. Riddell Sports, Inc., 242 S.W.3d 567, 581-82 (5th Cir. 2001). A failure


 164
       See ROA.006608; ROA.009437-9440.
 165
       ROA.009898.
 166
       ROA.009437-9442.
 167
       ROA.009923-24.

                                            54
Case 3:23-cv-02071-E         Document 29       Filed 01/22/24      Page 70 of 75   PageID 11575



 to conduct a proper Daubert inquiry, and “articulate” the basis for a ruling based on

 a sufficiently developed record, is error. See id.; see also Dodge v. Cotter Corp., 328

 F.3d 1212, 1223 (10th Cir. 2003).

           HMIT also was entitled to make an offer of proof on what its experts would

 opine for purposes of appellate review—a requirement for error preservation that the

 Daubert hearing ordinarily would fulfill. FED. R. EVID. 103(c). Thus, HMIT’s

 evidentiary proffer under Rule 103(a)(2) was appropriate because the evidence

 clearly supported the “colorability” of HMIT’s claims and was procedurally required

 because the bankruptcy court refused to conduct a Daubert proceeding. Hence, the

 bankruptcy court’s subsequent determination to strike HMIT’s proffer because the

 “substance” of the expert testimony was purportedly “apparent from the context’”

 was clear error and an abuse of discretion.

           3.     The Bankruptcy Court Abused its Discretion by Determining
                  Testimony “Not Helpful”

           Ultimately, the bankruptcy court abused its discretion when determining

 HMIT’s expert testimony was inadmissible because the experts would not “help the

 trier of fact to understand the evidence or to determine a fact in issue.”168 “The

 requirement that the testimony ‘assist the trier of fact’ means the evidence must be

 relevant,” 169 and “Rule 401 defines relevant evidence as that which has ‘any


 168
       ROA.009925.
 169
       Mathis v. Exxon Corp., 302 F.3d 448, 460 (5th Cir. 2002).

                                                  55
Case 3:23-cv-02071-E         Document 29       Filed 01/22/24      Page 71 of 75     PageID 11576



 tendency to make any fact that is of consequence to the determination of the action

 more probable or less probable than it would be without the evidence.’” 170 The

 proposed testimony was clearly “relevant.”

           The unfairness of the bankruptcy court’s holding is readily shown by just a

 few examples:

               Shockingly, the bankruptcy court stated it was not “surprised” that
                the Outside Purchasers did no due diligence.171 HMIT’s Experts,
                however, would have testified that due diligence was necessary,
                and the absence of due diligence was a “red flag” that MNPI was
                wrongfully used.172

               The Order Denying Leave stated that HMIT’s claims concerning
                Seery’s compensation was speculative because Mark Patrick and
                Dondero did not have personal knowledge. 173 Yet again, the
                bankruptcy court excluded HMIT’s Experts who would have
                expressed relevant opinions that Seery’s compensation was
                excessive.174

               On Pages 28 through 30 of its Order Denying Leave, the
                bankruptcy provided a chart that omitted the UBS investment
                thereby skewing the expected returns. The Bankruptcy Court seeks
                to justify this omission because the UBS claims were purchased
                after the announcement of the MGM sale. But this exclusion is
                misleading because the Outside Purchasers had other MNPI
                concerning the estate’s assets. 175 Moreover, HMIT’s Experts were
                prepared to testify that the expected returns based on public
                information were minimal and far below the desired rates of return

 170
       Mathis v. Exxon Corp., 302 F.3d 448, 460 (5th Cir. 2002) (quoting FED. R. EVID. 401).
 171
       ROA.000891.
 172
       ROA.006610.
 173
       ROA.000904.
 174
       ROA.006609-11.
 175
       See ROA.003350, ROA.003352, ROA.003354.

                                                  56
Case 3:23-cv-02071-E      Document 29      Filed 01/22/24    Page 72 of 75     PageID 11577



               for hedge funds like Farallon and Stonehill. 176

          Because the bankruptcy court never conducted an inquiry, it was impossible

 for that court to know if these opinions would be “helpful.” To determine an expert’s

 admissibility, a hearing should have been held. See, e.g., Gruca v. Alpha Therapeutic

 Corp., 51 F.3d 638, 643 (7th Cir.1995); see also Hose v. Chicago Nw. Transp., 70

 F.3d 968, 973 n.3 (8th Cir.1995); United Fire & Cas. Co. v. Whirlpool Corp., 704

 F.3d 1338, 1341–42 (11th Cir.2013); United States v. Schiff, 538 F. Supp. 2d 818, 844

 fn. 26 (D.N.J. 2008),’aff’d, 602 F.3d 152 (3d Cir. 2010) (“expert testimony may

 ‘assist the trier of fact to understand the facts already in the record, even if all it does

 is put those facts in context.’”).

 H.       The Bankruptcy Court Erroneously Determined Appellant
          “Cannot Show It is Pursuing the Proposed Claims for a Proper
          Purpose”

          Finally, the bankruptcy court erred in its sweeping, unsupported “findings”

 that HMIT’s proposed claims were “brought for the improper purpose of continuing

 Dondero’s vexatious, harassing, bad-faith litigation.” 177 This determination was

 unsupported by the record, and it was wholly improper at this early stage in the

 proceedings, i.e. before claims are even filed.

          It is undisputed that Dondero has no legal control of HMIT, and whatever



 176
       ROA.006609-11.
 177
       ROA.000937.

                                             57
Case 3:23-cv-02071-E        Document 29   Filed 01/22/24   Page 73 of 75   PageID 11578



 “control” the bankruptcy court found is legally irrelevant and factually

 unsupported. This error is based upon the bankruptcy court’s claims of background

 “knowledge” about Dondero, but was inconsistent with the actual evidence offered

 at the hearing. It also has no place in a plausibility inquiry. Indeed, it is a primary

 basis why the bankruptcy court invoked a heightened standard of review to

 determine that HMIT—a separate, non-litigious entity who has never been labeled

 “vexatious”—should be burdened with the court’s “opinions” about Dondero and

 thus precluded HMIT from bringing its claims. Still worse, it purportedly is based

 on a “totality of the evidence in this proceeding”—despite that “colorability” is non-

 evidentiary, and no evidence supports the bankruptcy court’s finding that HMIT is

 “Dondero by Another Name.”

          To be clear, HMIT has never been found to be a vexatious litigant; HMIT is

 not “controlled” by Dondero; 178 the only evidence in the case is that Dondero does

 not control HMIT; 179 there was no evidence of alter ego; and no evidence that HMIT

 and Dondero were one and the same. 180 Rather, the bankruptcy court’s “fact

 findings” were based on irrelevant matters outside the record and, thus, an improper

 basis for judicial notice, particularly because the purported relationship is hotly



 178
       ROA.9570-71.
 179
       ROA.9570-71.
 180
       See ROA.009570-71.

                                            58
Case 3:23-cv-02071-E     Document 29    Filed 01/22/24      Page 74 of 75   PageID 11579



 disputed and the alleged “context” did not involve HMIT.

          It was also an abuse of discretion for the bankruptcy court—before HMIT has

 filed its claims or conducted any discovery on those claims—to weigh the credibility

 and testimony of witnesses. Even when courts have weighed credibility at later

 stages of litigation, such as summary judgment proceedings, courts have held that

 was inappropriate before trial. See, In re Yormak, 640 B.R. 491, 508 (M.D. Fla.

 2022), appeal dismissed, No. 22-11636-BB, 2022 WL 3270056 (11th Cir. July 27,

 2022).

          Here, the bankruptcy court determined that Dondero’s testimony was not

 credible, despite being unrebutted, and supported by contemporaneous notes. 181 The

 bankruptcy court’s blanket determination that Dondero was “not credible” was

 plainly wrong. 182 The bankruptcy court committed a reversible wrong when it

 attributed this purported “lack of credibility” to HMIT.

                     XII. CONCLUSION AND RELIEF SOUGHT

          The bankruptcy court erred in the creation and application of its “hybrid”

 standard to determine the colorability of HMIT’s claims because HMIT has plead

 colorable and plausible claims; the bankruptcy court violated HMIT’s due process

 rights in denying basic discovery and striking relevant evidence; the bankruptcy


 181
       ROA.009564.
 182
       ROA.009564.

                                           59
Case 3:23-cv-02071-E    Document 29      Filed 01/22/24    Page 75 of 75    PageID 11580



 court abused its discretion at this pre-filing stage by ignoring the facts in the record

 and determining that HMIT—a separate, non-litigious entity that has never been

 labeled “vexatious”—is burdened with the bankruptcy court’s “opinions” about

 Dondero. For all of the reasons stated in this brief, this Court should reverse the

 Order Denying Leave, reverse the Order Denying Further Relief, and render a

 decision granting HMIT leave to bring its claims individually and derivatively.

                    XIII. CERTIFICATE OF COMPLIANCE

       This document complies with the word limit of FED. R. BANKR. P.

 8015(a)(7)(B) because, excluding the parts of the document exempted by FED. R.

 BANKR. P. 8015(g), this document contains 12,992 words; and

       This document complies with the typeface requirements of FED. R. BANKR. P.

 8015(a)(5) and the type-style requirements of FED. R. BANKR. P. 8015(a)(6) because:

 this document has been prepared in a proportionally spaced typeface Microsoft

 Word in size 14 font, Times New Roman.



                                         /s/ Sawnie A. McEntire
                                         Sawnie A. McEntire




                                           60
